Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 1 of 17




                      Exhibit 30
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 2 of 17
XARELTO®                                                      Revised: 08/2016         XARELTO® (rivaroxaban) tablets
(rivaroxaban) tablets, for oral use                             059105-160829
                                                                                       -------------------------- DOSAGE AND ADMINISTRATION-------------------------
                                                                                       • Take 15 mg and 20 mg tablets with food; take 10 mg tablets with or
HIGHLIGHTS OF PRESCRIBING INFORMATION                                                     without food (2.2)
These highlights do not include all the information needed to use                      • Nonvalvular Atrial Fibrillation:
XARELTO® (rivaroxaban) safely and effectively. See full prescribing                      o For patients with CrCl >50 mL/min: 20 mg orally, once daily with the
information for XARELTO.                                                                    evening meal (2.4)
XARELTO (rivaroxaban) tablets, for oral use                                              o For patients with CrCl 15 - 50 mL/min: 15 mg orally, once daily with the
Initial U.S. Approval: 2011                                                                 evening meal (2.4)
                                                                                       • Treatment of DVT, PE, and Reduction in the Risk of Recurrence of DVT
                                                                                          and of PE: 15 mg orally twice daily with food for the first 21 days for the
       WARNING: (A) PREMATURE DISCONTINUATION OF XARELTO
                                                                                          initial treatment of acute DVT or PE. After the initial treatment period,
             INCREASES THE RISK OF THROMBOTIC EVENTS,                                     20 mg orally once daily with food for the remaining treatment and the
                    (B) SPINAL/EPIDURAL HEMATOMA                                          long-term reduction in the risk of recurrence of DVT and of PE. (2.5)
       See full prescribing information for complete boxed warning                     • Prophylaxis of DVT Following Hip or Knee Replacement Surgery: 10 mg
 (A) Premature discontinuation of XARELTO increases the risk of                           orally, once daily with or without food (2.6)
 thrombotic events                                                                     ------------------------- DOSAGE FORMS AND STRENGTHS-----------------------
 Premature discontinuation of any oral anticoagulant, including XARELTO,               Tablets: 10 mg, 15 mg, and 20 mg (3)
 increases the risk of thrombotic events. To reduce this risk, consider                -------------------------------- CONTRAINDICATIONS--------------------------------
 coverage with another anticoagulant if XARELTO is discontinued for a                  • Active pathological bleeding (4)
 reason other than pathological bleeding or completion of a course of                  • Severe hypersensitivity reaction to XARELTO (4)
 therapy (2.3, 2.7, 5.1, 14.1).
                                                                                       ------------------------ WARNINGS AND PRECAUTIONS---------------------------
 (B) Spinal/epidural hematoma                                                          • Risk of bleeding: XARELTO can cause serious and fatal bleeding.
 Epidural or spinal hematomas have occurred in patients treated with                      Promptly evaluate signs and symptoms of blood loss. (5.2)
 XARELTO who are receiving neuraxial anesthesia or undergoing spinal                   • Pregnancy-related hemorrhage: Use XARELTO with caution in pregnant
 puncture. These hematomas may result in long-term or permanent paralysis                 women due to the potential for obstetric hemorrhage and/or emergent
 (5.2, 5.3, 6.2).                                                                         delivery. Promptly evaluate signs and symptoms of blood loss. (5.7)
                                                                                       • Prosthetic heart valves: XARELTO use not recommended (5.8)
 Monitor patients frequently for signs and symptoms of neurological
 impairment and if observed, treat urgently. Consider the benefits and risks           ------------------------------- ADVERSE REACTIONS---------------------------------
 before neuraxial intervention in patients who are or who need to be                   The most common adverse reaction (>5%) was bleeding. (6.1)
 anticoagulated (5.3).                                                                 To report SUSPECTED ADVERSE REACTIONS, contact Janssen
                                                                                       Pharmaceuticals, Inc. at 1-800-526-7736 or FDA at 1‑800-FDA-1088 or www.
------------------------------ RECENT MAJOR CHANGES----------------------------        fda.gov/medwatch.
Warnings and Precautions (5.2, 5.4)                                   05/2016          ------------------------------- DRUG INTERACTIONS---------------------------------
Warnings and Precautions (5.3)                                        08/2016
                                                                                       • Combined P-gp and strong CYP3A4 inhibitors and inducers: Avoid
-------------------------------INDICATIONS AND USAGE----------------------------          concomitant use (7.2, 7.3)
XARELTO is a factor Xa inhibitor indicated:                                            • Anticoagulants: Avoid concomitant use (7.4)
• to reduce the risk of stroke and systemic embolism in patients with                  ------------------------- USE IN SPECIFIC POPULATIONS---------------------------
   nonvalvular atrial fibrillation (1.1)                                               • Nursing mothers: discontinue drug or discontinue nursing (8.3)
• for the treatment of deep vein thrombosis (DVT), pulmonary embolism                  • Renal impairment: Avoid or adjust dose based on CrCl and Indication (8.7)
   (PE), and for the reduction in the risk of recurrence of DVT and of PE (1.2,        • Hepatic impairment: Avoid use in patients with Child-Pugh B and C
   1.3, 1.4)                                                                              hepatic impairment or with any degree of hepatic disease associated
• for the prophylaxis of DVT, which may lead to PE in patients undergoing                 with coagulopathy (8.8)
   knee or hip replacement surgery (1.5)                                               See 17 for PATIENT COUNSELING INFORMATION and Medication Guide.
                                                                                                                                                       Revised: 08/2016



FULL PRESCRIBING INFORMATION: CONTENTS*                                                4 CONTRAINDICATIONS
WARNING: (A) PREMATURE DISCONTINUATION OF XARELTO INCREASES                            5 WARNINGS AND PRECAUTIONS
THE RISK OF THROMBOTIC EVENTS, (B) SPINAL/EPIDURAL HEMATOMA                              5.1 Increased Risk of Thrombotic Events after Premature
1 INDICATIONS AND USAGE                                                                      Discontinuation
   1.1 Reduction of Risk of Stroke and Systemic Embolism in Nonvalvular                  5.2 Risk of Bleeding
        Atrial Fibrillation                                                              5.3 Spinal/Epidural Anesthesia or Puncture
   1.2 Treatment of Deep Vein Thrombosis                                                 5.4 Use in Patients with Renal Impairment
   1.3 Treatment of Pulmonary Embolism                                                   5.5 Use in Patients with Hepatic Impairment
   1.4 Reduction in the Risk of Recurrence of Deep Vein Thrombosis and                   5.6 Use with P-gp and Strong CYP3A4 Inhibitors or Inducers
        of Pulmonary Embolism                                                            5.7 Risk of Pregnancy-Related Hemorrhage
   1.5 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee                         5.8 Patients with Prosthetic Heart Valves
        Replacement Surgery                                                              5.9 Acute PE in Hemodynamically Unstable Patients or Patients Who
2 DOSAGE AND ADMINISTRATION                                                                  Require Thrombolysis or Pulmonary Embolectomy
   2.1 Recommended Dosage                                                              6 ADVERSE REACTIONS
   2.2 Important Food Effect Information                                                 6.1 Clinical Trials Experience
   2.3 Switching to and from XARELTO                                                     6.2 Postmarketing Experience
   2.4 Nonvalvular Atrial Fibrillation                                                 7 DRUG INTERACTIONS
   2.5 Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism                       7.1 General Inhibition and Induction Properties
        (PE), and Reduction in the Risk of Recurrence of DVT and of PE                   7.2 Drugs that Inhibit Cytochrome P450 3A4 Enzymes and Drug
   2.6 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee                             Transport Systems
        Replacement Surgery                                                              7.3 Drugs that Induce Cytochrome P450 3A4 Enzymes and Drug
   2.7 Discontinuation for Surgery and other Interventions                                   Transport Systems
   2.8 Missed Dose                                                                       7.4 Anticoagulants and NSAIDs/Aspirin
   2.9 Administration Options                                                            7.5 Drug-Disease Interactions with Drugs that Inhibit Cytochrome P450
3 DOSAGE FORMS AND STRENGTHS                                                                 3A4 Enzymes and Drug Transport Systems


                                                                                   1
         Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 3 of 17
XARELTO® (rivaroxaban) tablets                                                   XARELTO® (rivaroxaban) tablets
8 USE IN SPECIFIC POPULATIONS                                                    13 NON-CLINICAL TOXICOLOGY
   8.1 Pregnancy                                                                    13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
   8.2 Labor and Delivery                                                        14 CLINICAL STUDIES
   8.3 Nursing Mothers                                                              14.1 Stroke Prevention in Nonvalvular Atrial Fibrillation
   8.4 Pediatric Use                                                                14.2 Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism
   8.5 Geriatric Use                                                                     (PE), and Reduction in the Risk of Recurrence of DVT and of PE
   8.6 Females of Reproductive Potential                                            14.3 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee
   8.7 Renal Impairment                                                                  Replacement Surgery
   8.8 Hepatic Impairment                                                        16 HOW SUPPLIED/STORAGE AND HANDLING
10 OVERDOSAGE                                                                    17 PATIENT COUNSELING INFORMATION
11 DESCRIPTION
12 CLINICAL PHARMACOLOGY
                                                                                 *Sections or subsections omitted from the full prescribing information are
   12.1 Mechanism of Action                                                      not listed.
   12.2 Pharmacodynamics
   12.3 Pharmacokinetics
   12.6 QT/QTc Prolongation



FULL PRESCRIBING INFORMATION                                                     1.5 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee
                                                                                      Replacement Surgery
      WARNING: (A) PREMATURE DISCONTINUATION OF XARELTO                          XARELTO is indicated for the prophylaxis of DVT, which may lead to PE in
          INCREASES THE RISK OF THROMBOTIC EVENTS,                               patients undergoing knee or hip replacement surgery.
                (B) SPINAL/EPIDURAL HEMATOMA
                                                                                 2   DOSAGE AND ADMINISTRATION
 A. Premature discontinuation of XARELTO increases the risk of                   2.1 Recommended Dosage
    thrombotic events
 Premature discontinuation of any oral anticoagulant, including                          Indication                                   Dosage
 XARELTO, increases the risk of thrombotic events. If anticoagulation             Reduction in Risk of        CrCl >50 mL/min:        20 mg once daily with the
 with XARELTO is discontinued for a reason other than pathological                Stroke in Nonvalvular                               evening meal
 bleeding or completion of a course of therapy, consider coverage with            Atrial Fibrillation (2.4)
 another anticoagulant [see Dosage and Administration (2.3, 2.7),                                             CrCl 15 to 50 mL/min:   15 mg once daily with the
                                                                                                                                      evening meal
 Warnings and Precautions (5.1), and Clinical Studies (14.1)].
                                                                                  Treatment of DVT (2.5)      15 mg twice daily with food, for first 21 days
 B. Spinal/epidural hematoma
 Epidural or spinal hematomas have occurred in patients treated with              Treatment of PE (2.5)               ▼after 21 days, transition to ▼
 XARELTO who are receiving neuraxial anesthesia or undergoing spinal                                          20 mg once daily with food, for remaining treatment
 puncture. These hematomas may result in long-term or permanent                   Reduction in the Risk
 paralysis. Consider these risks when scheduling patients for spinal              of Recurrence of DVT        20 mg once daily with food
 procedures. Factors that can increase the risk of developing epidural or         and of PE (2.5)
 spinal hematomas in these patients include:
                                                                                  Prophylaxis of DVT          Hip replacement:        10 mg once daily for 35 days
 • use of indwelling epidural catheters                                           Following Hip or
 • concomitant use of other drugs that affect hemostasis, such as non-            Knee Replacement            Knee replacement:       10 mg once daily for 12 days
   steroidal anti-inflammatory drugs (NSAIDs), platelet inhibitors, other         Surgery (2.6)
   anticoagulants
 • a history of traumatic or repeated epidural or spinal punctures               2.2 Important Food Effect Information
 • a history of spinal deformity or spinal surgery                               The 15 mg and 20 mg XARELTO tablets should be taken with food, while
 • optimal timing between the administration of XARELTO and neuraxial            the 10 mg tablet can be taken with or without food [see Clinical
   procedures is not known                                                       Pharmacology (12.3)].
 [see Warnings and Precautions (5.2, 5.3) and Adverse Reactions (6.2)].          In the nonvalvular atrial fibrillation efficacy study XARELTO was taken with
 Monitor patients frequently for signs and symptoms of neurological              the evening meal.
 impairment. If neurological compromise is noted, urgent treatment is            2.3 Switching to and from XARELTO
 necessary [see Warnings and Precautions (5.3)].
                                                                                 Switching from Warfarin to XARELTO - When switching patients from
 Consider the benefits and risks before neuraxial intervention in                warfarin to XARELTO, discontinue warfarin and start XARELTO as soon as
 patients anticoagulated or to be anticoagulated for thromboprophylaxis          the International Normalized Ratio (INR) is below 3.0 to avoid periods of
 [see Warnings and Precautions (5.3)].                                           inadequate anticoagulation.
                                                                                 Switching from XARELTO to Warfarin - No clinical trial data are available to
1    INDICATIONS AND USAGE                                                       guide converting patients from XARELTO to warfarin. XARELTO affects INR,
1.1 Reduction of Risk of Stroke and Systemic Embolism in Nonvalvular             so INR measurements made during coadministration with warfarin may not
     Atrial Fibrillation                                                         be useful for determining the appropriate dose of warfarin. One approach
XARELTO is indicated to reduce the risk of stroke and systemic embolism in       is to discontinue XARELTO and begin both a parenteral anticoagulant and
patients with nonvalvular atrial fibrillation.                                   warfarin at the time the next dose of XARELTO would have been taken.
There are limited data on the relative effectiveness of XARELTO and              Switching from XARELTO to Anticoagulants other than Warfarin - For
warfarin in reducing the risk of stroke and systemic embolism when               patients currently taking XARELTO and transitioning to an anticoagulant
warfarin therapy is well-controlled [see Clinical Studies (14.1)].               with rapid onset, discontinue XARELTO and give the first dose of the other
                                                                                 anticoagulant (oral or parenteral) at the time that the next XARELTO dose
1.2 Treatment of Deep Vein Thrombosis                                            would have been taken [see Drug Interactions (7.4)].
XARELTO is indicated for the treatment of deep vein thrombosis (DVT).
                                                                                 Switching from Anticoagulants other than Warfarin to XARELTO - For
1.3 Treatment of Pulmonary Embolism                                              patients currently receiving an anticoagulant other than warfarin, start
XARELTO is indicated for the treatment of pulmonary embolism (PE).               XARELTO 0 to 2 hours prior to the next scheduled evening administration of
                                                                                 the drug (e.g., low molecular weight heparin or non-warfarin oral
1.4 Reduction in the Risk of Recurrence of Deep Vein Thrombosis and of
                                                                                 anticoagulant) and omit administration of the other anticoagulant. For
     Pulmonary Embolism
                                                                                 unfractionated heparin being administered by continuous infusion, stop the
XARELTO is indicated for the reduction in the risk of recurrence of deep         infusion and start XARELTO at the same time.
vein thrombosis and of pulmonary embolism following initial 6 months
treatment for DVT and/or PE.

                                                                             2
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 4 of 17
XARELTO® (rivaroxaban) tablets                                                      XARELTO® (rivaroxaban) tablets
2.4 Nonvalvular Atrial Fibrillation                                                 3    DOSAGE FORMS AND STRENGTHS
For patients with creatinine clearance (CrCl) >50 mL/min, the recommended           • 10 mg tablets: Round, light red, biconvex and film-coated with a triangle
dose of XARELTO is 20 mg taken orally once daily with the evening meal.               pointing down above a “10” marked on one side and “Xa” on the other side
For patients with CrCl 15 to 50 mL/min, the recommended dose is 15 mg               • 15 mg tablets: Round, red, biconvex, and film-coated with a triangle pointing
once daily with the evening meal [see Use in Specific Populations (8.7)].             down above a “15” marked on one side and “Xa” on the other side
2.5 Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism (PE),               • 20 mg tablets: Triangle-shaped, dark red, and film-coated with a triangle
     and Reduction in the Risk of Recurrence of DVT and of PE                         pointing down above a “20” marked on one side and “Xa” on the other side
The recommended dose of XARELTO for the initial treatment of acute DVT              4    CONTRAINDICATIONS
and/or PE is 15 mg taken orally twice daily with food for the first 21 days.
                                                                                    XARELTO is contraindicated in patients with:
After this initial treatment period, the recommended dose of XARELTO is
20 mg taken orally once daily with food, at approximately the same time             • active pathological bleeding [see Warnings and Precautions (5.2)]
each day. The recommended dose of XARELTO for reduction in the risk of              • severe hypersensitivity reaction to XARELTO (e.g., anaphylactic reactions)
recurrence of DVT or PE is 20 mg taken orally once daily with food at                 [see Adverse Reactions (6.2)]
approximately the same time each day [see Clinical Studies (14.2)].                 5     WARNINGS AND PRECAUTIONS
2.6 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee                       5.1 Increased Risk of Thrombotic Events after Premature Discontinuation
      Replacement Surgery                                                           Premature discontinuation of any oral anticoagulant, including XARELTO, in
The recommended dose of XARELTO is 10 mg taken orally once daily with               the absence of adequate alternative anticoagulation increases the risk of
or without food. The initial dose should be taken 6 to 10 hours after surgery       thrombotic events. An increased rate of stroke was observed during the
provided that hemostasis has been established [see Dosage and                       transition from XARELTO to warfarin in clinical trials in atrial fibrillation
Administration (2.7)].                                                              patients. If XARELTO is discontinued for a reason other than pathological
• For patients undergoing hip replacement surgery, treatment duration of            bleeding or completion of a course of therapy, consider coverage with
   35 days is recommended.                                                          another anticoagulant [see Dosage and Administration (2.3, 2.7) and Clinical
• For patients undergoing knee replacement surgery, treatment duration of           Studies (14.1)].
   12 days is recommended.                                                          5.2 Risk of Bleeding
2.7 Discontinuation for Surgery and other Interventions                             XARELTO increases the risk of bleeding and can cause serious or fatal
If anticoagulation must be discontinued to reduce the risk of bleeding with         bleeding. In deciding whether to prescribe XARELTO to patients at
surgical or other procedures, XARELTO should be stopped at least 24 hours           increased risk of bleeding, the risk of thrombotic events should be weighed
before the procedure to reduce the risk of bleeding [see Warnings and               against the risk of bleeding.
Precautions (5.2)]. In deciding whether a procedure should be delayed until         Promptly evaluate any signs or symptoms of blood loss and consider the
24 hours after the last dose of XARELTO, the increased risk of bleeding             need for blood replacement. Discontinue XARELTO in patients with active
should be weighed against the urgency of intervention. XARELTO should be            pathological hemorrhage. The terminal elimination half-life of rivaroxaban
restarted after the surgical or other procedures as soon as adequate                is 5 to 9 hours in healthy subjects aged 20 to 45 years.
hemostasis has been established, noting that the time to onset of                   Concomitant use of other drugs that impair hemostasis increases the risk
therapeutic effect is short [see Warnings and Precautions (5.1)]. If oral           of bleeding. These include aspirin, P2Y12 platelet inhibitors, other anti­
medication cannot be taken during or after surgical intervention, consider          thrombotic agents, fibrinolytic therapy, non-steroidal anti-inflammatory
administering a parenteral anticoagulant.                                           drugs (NSAIDs) [see Drug Interactions (7.4)], selective serotonin reuptake
2.8 Missed Dose                                                                     inhibitors, and serotonin norepinephrine reuptake inhibitors.
If a dose of XARELTO is not taken at the scheduled time, administer the             Concomitant use of drugs that are combined P-gp and CYP3A4 inhibitors
dose as soon as possible on the same day as follows:                                (e.g., ketoconazole and ritonavir) increases rivaroxaban exposure and may
• For patients receiving 15 mg twice daily: The patient should take                 increase bleeding risk [see Drug Interactions (7.2)].
   XARELTO immediately to ensure intake of 30 mg XARELTO per day. In this           Reversal of Anticoagulant Effect
   particular instance, two 15 mg tablets may be taken at once. The patient         A specific antidote for rivaroxaban is not available. Because of high plasma
   should continue with the regular 15 mg twice daily intake as                     protein binding, rivaroxaban is not expected to be dialyzable [see Clinical
   recommended on the following day.                                                Pharmacology (12.3)]. Protamine sulfate and vitamin K are not expected to
• For patients receiving 20 mg, 15 mg or 10 mg once daily: The patient              affect the anticoagulant activity of rivaroxaban. Partial reversal of prothrombin
   should take the missed XARELTO dose immediately.                                 time prolongation has been seen after administration of prothrombin complex
2.9 Administration Options                                                          concentrates (PCCs) in healthy volunteers. The use of other procoagulant
                                                                                    reversal agents like activated prothrombin complex concentrate (APCC) or
For patients who are unable to swallow whole tablets, 10 mg, 15 mg or
                                                                                    recombinant factor VIIa (rFVIIa) has not been evaluated.
20 mg XARELTO tablets may be crushed and mixed with applesauce
immediately prior to use and administered orally. After the administration of       5.3 Spinal/Epidural Anesthesia or Puncture
a crushed XARELTO 15 mg or 20 mg tablet, the dose should be immediately             When neuraxial anesthesia (spinal/epidural anesthesia) or spinal puncture
followed by food [see Dosage and Administration (2.2, 2.4, 2.5) and Clinical        is employed, patients treated with anticoagulant agents for prevention of
Pharmacology (12.3)].                                                               thromboembolic complications are at risk of developing an epidural or
Administration via nasogastric (NG) tube or gastric feeding tube: After             spinal hematoma which can result in long-term or permanent paralysis
confirming gastric placement of the tube, 10 mg, 15 mg or 20 mg XARELTO             [see Boxed Warning].
tablets may be crushed and suspended in 50 mL of water and administered             To reduce the potential risk of bleeding associated with the concurrent use
via an NG tube or gastric feeding tube. Since rivaroxaban absorption is             of rivaroxaban and epidural or spinal anesthesia/analgesia or spinal
dependent on the site of drug release, avoid administration of XARELTO              puncture, consider the pharmacokinetic profile of rivaroxaban [see Clinical
distal to the stomach which can result in reduced absorption and thereby,           Pharmacology (12.3)]. Placement or removal of an epidural catheter or
reduced drug exposure. After the administration of a crushed XARELTO                lumbar puncture is best performed when the anticoagulant effect of
15 mg or 20 mg tablet, the dose should then be immediately followed by              rivaroxaban is low; however, the exact timing to reach a sufficiently low
enteral feeding [see Clinical Pharmacology (12.3)].                                 anticoagulant effect in each patient is not known.
Crushed 10 mg, 15 mg or 20 mg XARELTO tablets are stable in water and in            An indwelling epidural or intrathecal catheter should not be removed
applesauce for up to 4 hours. An in vitro compatibility study indicated that        before at least 2 half-lifes have elapsed (i.e., 18 hours in young patients
there is no adsorption of rivaroxaban from a water suspension of a crushed          aged 20 to 45 years and 26 hours in elderly patients aged 60 to 76 years),
XARELTO tablet to PVC or silicone nasogastric (NG) tubing.                          after the last administration of XARELTO [see Clinical Pharmacology (12.3)].
                                                                                    The next XARELTO dose should not be administered earlier than 6 hours
                                                                                    after the removal of the catheter. If traumatic puncture occurs, delay the
                                                                                    administration of XARELTO for 24 hours.




                                                                                3
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 5 of 17
XARELTO® (rivaroxaban) tablets                                                      XARELTO® (rivaroxaban) tablets
Should the physician decide to administer anticoagulation in the context of         6.1 Clinical Trials Experience
epidural or spinal anesthesia/analgesia or lumbar puncture, monitor                 Because clinical trials are conducted under widely varying conditions,
frequently to detect any signs or symptoms of neurological impairment,              adverse reaction rates observed in the clinical trials of a drug cannot be
such as midline back pain, sensory and motor deficits (numbness, tingling,          directly compared to rates in the clinical trials of another drug and may not
or weakness in lower limbs), bowel and/or bladder dysfunction. Instruct             reflect the rates observed in clinical practice.
patients to immediately report if they experience any of the above signs or
symptoms. If signs or symptoms of spinal hematoma are suspected, initiate           During clinical development for the approved indications, 16326 patients
urgent diagnosis and treatment including consideration for spinal cord              were exposed to XARELTO. These included 7111 patients who received
decompression even though such treatment may not prevent or reverse                 XARELTO 15 mg or 20 mg orally once daily for a mean of 19 months (5558
neurological sequelae.                                                              for 12 months and 2512 for 24 months) to reduce the risk of stroke and
                                                                                    systemic embolism in nonvalvular atrial fibrillation (ROCKET AF); 4728
5.4 Use in Patients with Renal Impairment                                           patients who received either XARELTO 15 mg orally twice daily for three
Nonvalvular Atrial Fibrillation                                                     weeks followed by 20 mg orally once daily (EINSTEIN DVT, EINSTEIN PE) or
Periodically assess renal function as clinically indicated (i.e., more              20 mg orally once daily (EINSTEIN Extension) to treat DVT, PE, and to
frequently in situations in which renal function may decline) and adjust            reduce the risk of recurrence of DVT and of PE; and 4487 patients who
therapy accordingly [see Dosage and Administration (2.4)]. Consider dose            received XARELTO 10 mg orally once daily for prophylaxis of DVT following
adjustment or discontinuation of XARELTO in patients who develop acute              hip or knee replacement surgery (RECORD 1-3).
renal failure while on XARELTO [see Use in Specific Populations (8.7)].
                                                                                    Hemorrhage
Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism (PE), and
                                                                                    The most common adverse reactions with XARELTO were bleeding
Reduction in the Risk of Recurrence of DVT and of PE
Avoid the use of XARELTO in patients with CrCl <30 mL/min due to an                 complications [see Warnings and Precautions (5.2)].
expected increase in rivaroxaban exposure and pharmacodynamic effects               Nonvalvular Atrial Fibrillation
in this patient population [see Use in Specific Populations (8.7)].                 In the ROCKET AF trial, the most frequent adverse reactions associated
Prophylaxis of Deep Vein Thrombosis Following Hip or Knee Replacement               with permanent drug discontinuation were bleeding events, with incidence
Surgery                                                                             rates of 4.3% for XARELTO vs. 3.1% for warfarin. The incidence of
Avoid the use of XARELTO in patients with CrCl <30 mL/min due to an                 discontinuations for non-bleeding adverse events was similar in both
expected increase in rivaroxaban exposure and pharmacodynamic effects               treatment groups.
in this patient population. Observe closely and promptly evaluate any signs         Table 1 shows the number of patients experiencing various types of
or symptoms of blood loss in patients with CrCl 30 to 50 mL/min. Patients           bleeding events in the ROCKET AF trial.
who develop acute renal failure while on XARELTO should discontinue the
treatment [see Use in Specific Populations (8.7)].                                  Table 1: Bleeding Events in ROCKET AF*- On Treatment Plus 2 Days
5.5 Use in Patients with Hepatic Impairment                                                   Parameter        XARELTO       Warfarin XARELTO vs. Warfarin
No clinical data are available for patients with severe hepatic impairment.                                     N=7111       N=7125           HR
                                                                                                               n (%/year)   n (%/year)     (95% CI)
Avoid use of XARELTO in patients with moderate (Child-Pugh B) and severe
(Child-Pugh C) hepatic impairment or with any hepatic disease associated            Major Bleeding†             395 (3.6)    386 (3.5)       1.04 (0.90, 1.20)
with coagulopathy since drug exposure and bleeding risk may be
increased [see Use in Specific Populations (8.8)].                                    Intracranial               55 (0.5)     84 (0.7)       0.67 (0.47, 0.93)
                                                                                      Hemorrhage (ICH)‡
5.6 Use with P-gp and Strong CYP3A4 Inhibitors or Inducers
Avoid concomitant use of XARELTO with combined P-gp and strong CYP3A4                   Hemorrhagic Stroke§      36 (0.3)     58 (0.5)       0.63 (0.42, 0.96)
inhibitors (e.g., ketoconazole, itraconazole, lopinavir/ritonavir, ritonavir,           Other ICH                19 (0.2)     26 (0.2)       0.74 (0.41, 1.34)
indinavir, and conivaptan) [see Drug Interactions (7.2)].
                                                                                      Gastrointestinal (GI)¶    221 (2.0)    140 (1.2)       1.61 (1.30, 1.99)
Avoid concomitant use of XARELTO with drugs that are combined P-gp
and strong CYP3A4 inducers (e.g., carbamazepine, phenytoin, rifampin,                 Fatal Bleeding#            27 (0.2)     55 (0.5)       0.50 (0.31, 0.79)
St. John’s wort) [see Drug Interactions (7.3)].
                                                                                        ICH                      24 (0.2)     42 (0.4)       0.58 (0.35, 0.96)
5.7 Risk of Pregnancy-Related Hemorrhage
In pregnant women, XARELTO should be used only if the potential benefit                 Non-intracranial         3 (0.0)      13 (0.1)       0.23 (0.07, 0.82)
justifies the potential risk to the mother and fetus. XARELTO dosing in             Abbreviations: HR = Hazard Ratio, CI = Confidence interval, CRNM =
pregnancy has not been studied. The anticoagulant effect of XARELTO                 Clinically Relevant Non-Major.
cannot be monitored with standard laboratory testing nor readily reversed.          *	Major bleeding events within each subcategory were counted once per
Promptly evaluate any signs or symptoms suggesting blood loss (e.g., a                 patient, but patients may have contributed events to multiple
drop in hemoglobin and/or hematocrit, hypotension, or fetal distress).                 subcategories. These events occurred during treatment or within 2 days
5.8 Patients with Prosthetic Heart Valves                                              of stopping treatment.
                                                                                    †	Defined as clinically overt bleeding associated with a decrease in
The safety and efficacy of XARELTO have not been studied in patients with
prosthetic heart valves. Therefore, use of XARELTO is not recommended in               hemoglobin of ≥2 g/dL, a transfusion of ≥2 units of packed red blood cells
these patients.                                                                        or whole blood, bleeding at a critical site, or with a fatal outcome.
                                                                                    ‡	Intracranial bleeding events included intraparenchymal, intraventricular,
5.9 Acute PE in Hemodynamically Unstable Patients or Patients Who
      Require Thrombolysis or Pulmonary Embolectomy                                    subdural, subarachnoid and/or epidural hematoma.
                                                                                    §	Hemorrhagic stroke in this table specifically refers to non-traumatic
Initiation of XARELTO is not recommended acutely as an alternative to
unfractionated heparin in patients with pulmonary embolism who present                 intraparenchymal and/or intraventricular hematoma in patients on
with hemodynamic instability or who may receive thrombolysis or                        treatment plus 2 days.
                                                                                    ¶	Gastrointestinal bleeding events included upper GI, lower GI, and rectal
pulmonary embolectomy.
                                                                                       bleeding.
6     ADVERSE REACTIONS                                                             #	Fatal bleeding is adjudicated death with the primary cause of death from
The following adverse reactions are also discussed in other sections of the            bleeding.
labeling:
• Increased risk of stroke after discontinuation in nonvalvular atrial
   fibrillation [see Boxed Warning and Warnings and Precautions (5.1)]
• Bleeding risk [see Warnings and Precautions (5.2, 5.4, 5.5, 5.6, 5.7)]
• Spinal/epidural hematoma [see Boxed Warning and Warnings and
   Precautions (5.3)]




                                                                                4
         Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 6 of 17
XARELTO® (rivaroxaban) tablets                                                    XARELTO® (rivaroxaban) tablets
Figure 1 shows the risk of major bleeding events across major subgroups.          § Major bleeding which is not fatal or in a critical organ, but resulting in a

Figure 1: Risk of Major Bleeding Events by Baseline Characteristics in            decrease in Hb ≥ 2 g/dL and/or transfusion of ≥ 2 units of whole blood or
           ROCKET AF – On Treatment Plus 2 Days                                    packed red blood cells
                                                                                  EINSTEIN Extension Study
                                                                                  In the EINSTEIN Extension clinical study, the most frequent adverse
                                                                                  reactions associated with permanent drug discontinuation were bleeding
                                                                                  events, with incidence rates of 1.8% for XARELTO vs. 0.2% for placebo
                                                                                  treatment groups. The mean duration of treatment was 190 days for both
                                                                                  XARELTO and placebo treatment groups.
                                                                                  Table 3 shows the number of patients experiencing bleeding events in the
                                                                                  EINSTEIN Extension study.
                                                                                  Table 3: Bleeding Events* in EINSTEIN Extension Study
                                                                                                   Parameter                       XARELTO†        Placebo†
                                                                                                                                    20 mg
                                                                                                                                    N=598           N=590
                                                                                                                                     n (%)          n (%)
                                                                                  Major bleeding event‡                             4 (0.7)           0
                                                                                    Decrease in Hb ≥2 g/dL                          4 (0.7)           0
                                                                                    Transfusion of ≥2 units of whole blood or       2 (0.3)           0
                                                                                    packed red blood cells
                                                                                    Gastrointestinal                                 3 (0.5)           0
                                                                                    Menorrhagia                                      1 (0.2)           0
                                                                                  Clinically relevant non-major bleeding            32 (5.4)        7 (1.2)
Note: The figure above presents effects in various subgroups all of which           Any bleeding                                   104 (17.4)      63 (10.7)
are baseline characteristics and all of which were pre-specified (diabetic        * Bleeding event occurred after the first dose and up to 2 days after the
status was not pre-specified in the subgroup, but was a criterion for               last dose of study drug. Although a patient may have had 2 or more
the CHADS2 score). The 95% confidence limits that are shown do not                  events, the patient is counted only once in a category.
take into account how many comparisons were made, nor do they reflect             † Treatment schedule: XARELTO 20 mg once daily; matched placebo once daily
the effect of a particular factor after adjustment for all other factors.         ‡ There were no fatal or critical organ bleeding events.

Apparent homogeneity or heterogeneity among groups should not be
                                                                                  Prophylaxis of Deep Vein Thrombosis Following Hip or Knee Replacement
over-interpreted.                                                                 Surgery
Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism (PE), and             In the RECORD clinical trials, the overall incidence rate of adverse reactions
to Reduce the Risk of Recurrence of DVT and of PE                                 leading to permanent treatment discontinuation was 3.7% with XARELTO.
EINSTEIN DVT and EINSTEIN PE Studies                                              The rates of major bleeding events and any bleeding events observed in
In the pooled analysis of the EINSTEIN DVT and EINSTEIN PE clinical               patients in the RECORD clinical trials are shown in Table 4.
studies, the most frequent adverse reactions leading to permanent drug            Table 4: Bleeding Events* in Patients Undergoing Hip or Knee
discontinuation were bleeding events, with XARELTO vs. enoxaparin/                          Replacement Surgeries (RECORD 1‑3)
Vitamin K antagonist (VKA) incidence rates of 1.7% vs. 1.5%, respectively.
                                                                                                                                  XARELTO Enoxaparin†
The mean duration of treatment was 208 days for XARELTO-treated patients
                                                                                                                                    10 mg
and 204 days for enoxaparin/VKA-treated patients.
                                                                                   Total treated patients                          N=4487       N=4524
Table 2 shows the number of patients experiencing major bleeding events                                                              n (%)        n (%)
in the pooled analysis of the EINSTEIN DVT and EINSTEIN PE studies.
                                                                                     Major bleeding event                          14 (0.3)      9 (0.2)
Table 2: Bleeding Events* in the Pooled Analysis of EINSTEIN DVT and                 Fatal bleeding                               1 (<0.1)          0
          EINSTEIN PE Studies
                                                                                      Bleeding into a critical organ               2 (<0.1)       3 (0.1)
                   Parameter                     XARELTO†     Enoxaparin/
                                                   N=4130         VKA†                Bleeding that required re-operation            7 (0.2)      5 (0.1)
                                                    n (%)       N=4116                Extra-surgical site bleeding requiring         4 (0.1)    1 (<0.1)
                                                                  n (%)               transfusion of >2 units of whole blood
 Major bleeding event                             40 (1.0)       72 (1.7)             or packed cells
   Fatal bleeding                                 3 (<0.1)        8 (0.2)            Any bleeding event‡                           261 (5.8)    251 (5.6)
     Intracranial                                 2 (<0.1)      4 (<0.1)           Hip Surgery Studies                             N=3281       N=3298
                                                                                                                                     n (%)        n (%)
   Non-fatal critical organ bleeding              10 (0.2)       29 (0.7)
                                                                                     Major bleeding event                           7 (0.2)      3 (0.1)
     Intracranial‡                                3 (<0.1)       10 (0.2)
                                                                                      Fatal bleeding                               1 (<0.1)          0
     Retroperitoneal‡                             1 (<0.1)        8 (0.2)
                                                                                      Bleeding into a critical organ               1 (<0.1)     1 (<0.1)
     Intraocular‡                                 3 (<0.1)      2 (<0.1)
                                                                                      Bleeding that required re-operation            2 (0.1)    1 (<0.1)
     Intra-articular‡                                 0         4 (<0.1)
                                                                                      Extra-surgical site bleeding requiring         3 (0.1)    1 (<0.1)
   Non-fatal non-critical organ bleeding§          27 (0.7)      37 (0.9)             transfusion of >2 units of whole blood
   Decrease in Hb ≥ 2 g/dL                         28 (0.7)      42 (1.0)             or packed cells
   Transfusion of ≥2 units of whole blood or       18 (0.4)      25 (0.6)            Any bleeding event‡                           201 (6.1)    191 (5.8)
   packed red blood cells
                                                                                   Knee Surgery Study                              N=1206       N=1226
 Clinically relevant non-major bleeding           357 (8.6)     357 (8.7)                                                            n (%)        n (%)
 Any bleeding                                    1169 (28.3)   1153 (28.0)           Major bleeding event                           7 (0.6)      6 (0.5)
* Bleeding event occurred after randomization and up to 2 days after the              Fatal bleeding                                    0            0
  last dose of study drug. Although a patient may have had 2 or more
                                                                                      Bleeding into a critical organ                1 (0.1)      2 (0.2)
  events, the patient is counted only once in a category.
† Treatment schedule in EINSTEIN DVT and EINSTEIN PE studies: XARELTO                 Bleeding that required re-operation            5 (0.4)      4 (0.3)
  15 mg twice daily for 3 weeks followed by 20 mg once daily; enoxaparin/             Extra-surgical site bleeding requiring         1 (0.1)         0
  VKA [enoxaparin: 1 mg/kg twice daily, VKA: individually titrated doses to           transfusion of >2 units of whole blood
  achieve a target INR of 2.5 (range: 2.0-3.0)]                                       or packed cells
‡ Treatment-emergent major bleeding events with at least >2 subjects in
                                                                                     Any bleeding event‡                            60 (5.0)     60 (4.9)
  any pooled treatment group
                                                                              5
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 7 of 17
XARELTO® (rivaroxaban) tablets                                                      XARELTO® (rivaroxaban) tablets
* Bleeding events occurring any time following the first dose of double-            Other clinical trial experience: In an investigational study of acute
  blind study medication (which may have been prior to administration of            medically ill patients being treated with XARELTO 10 mg tablets, cases of
  active drug) until two days after the last dose of double-blind study             pulmonary hemorrhage and pulmonary hemorrhage with bronchiectasis
  medication. Patients may have more than one event.                                were observed.
† Includes the placebo-controlled period for RECORD 2, enoxaparin dosing
                                                                                    6.2 Postmarketing Experience
  was 40 mg once daily (RECORD 1-3)                                                 The following adverse reactions have been identified during post-approval
‡ Includes major bleeding events
                                                                                    use of rivaroxaban. Because these reactions are reported voluntarily from
                                                                                    a population of uncertain size, it is not always possible to reliably estimate
Following XARELTO treatment, the majority of major bleeding complications           their frequency or establish a causal relationship to drug exposure.
(≥60%) occurred during the first week after surgery.
                                                                                    Blood and lymphatic system disorders: agranulocytosis, thrombocytopenia
Other Adverse Reactions                                                             Gastrointestinal disorders: retroperitoneal hemorrhage
Non-hemorrhagic adverse reactions reported in ≥1% of XARELTO-treated                Hepatobiliary disorders: jaundice, cholestasis, hepatitis (including
patients in the EINSTEIN Extension study are shown in Table 5.                      hepatocellular injury)
Table 5: Other Adverse Reactions* Reported by ≥1% of XARELTO-Treated               Immune system disorders: hypersensitivity, anaphylactic reaction,
          Patients in EINSTEIN Extension Study                                      anaphylactic shock, angioedema
                                                                                    Nervous system disorders: cerebral hemorrhage, subdural hematoma,
System Organ Class                                XARELTO        Placebo
                                                                                    epidural hematoma, hemiparesis
 Preferred Term                                    N=598          N=590
                                                                                    Skin and subcutaneous tissue disorders: Stevens-Johnson syndrome
                                                   n (%)          n (%)
Gastrointestinal disorders                                                          7    DRUG INTERACTIONS
  Abdominal pain upper                             10 (1.7)       1 (0.2)           7.1 General Inhibition and Induction Properties
                                                                                    Rivaroxaban is a substrate of CYP3A4/5, CYP2J2, and the P-gp and
  Dyspepsia                                        8 (1.3)        4 (0.7)           ATP-binding cassette G2 (ABCG2) transporters. Inhibitors and inducers of
  Toothache                                        6 (1.0)           0              these CYP450 enzymes or transporters (e.g., P-gp) may result in changes in
General disorders and administration site                                           rivaroxaban exposure.
conditions                                                                          7.2 Drugs that Inhibit Cytochrome P450 3A4 Enzymes and Drug Transport
  Fatigue                                          6 (1.0)        3 (0.5)                Systems
Infections and infestations                                                         In drug interaction studies, conducted in subjects with normal renal
                                                                                    function, evaluating the concomitant use with drugs that are combined
  Sinusitis                                        7 (1.2)        3 (0.5)           P-gp and strong CYP3A4 inhibitors (e.g., ketoconazole, ritonavir), increases
  Urinary tract infection                          7 (1.2)        3 (0.5)           in rivaroxaban exposure and pharmacodynamic effects (i.e., factor Xa
Musculoskeletal and connective tissue                                               inhibition and PT prolongation) were observed. Significant increases in
disorders                                                                           rivaroxaban exposure may increase bleeding risk [see Clinical
                                                                                    Pharmacology (12.3)].
  Back pain                                        22 (3.7)       7 (1.2)
                                                                                    Avoid concomitant administration of XARELTO with combined P-gp and
  Osteoarthritis                                   10 (1.7)       5 (0.8)
                                                                                    strong CYP3A4 inhibitors [see Warnings and Precautions (5.6)].
Respiratory, thoracic and mediastinal
disorders                                                                           7.3 Drugs that Induce Cytochrome P450 3A4 Enzymes and Drug Transport
                                                                                          Systems
  Oropharyngeal pain                               6 (1.0)        2 (0.3)           Results from drug interaction studies and population PK analyses from
* Adverse reaction (with Relative Risk >1.5 for XARELTO versus placebo)             clinical studies indicate coadministration of XARELTO with a combined
  occurred after the first dose and up to 2 days after the last dose of study       P-gp and strong CYP3A4 inducer (e.g., rifampicin, phenytoin) decreased
  drug. Incidences are based on the number of patients, not the number of           rivaroxaban exposure by up to 50%. Similar decreases in pharmaco­
  events. Although a patient may have had 2 or more clinical adverse                dynamic effects were also observed. These decreases in exposure to
  reactions, the patient is counted only once in a category. The same               rivaroxaban may decrease efficacy [see Clinical Pharmacology (12.3)].
  patient may appear in different categories.
                                                                                    Avoid concomitant use of XARELTO with drugs that are combined P-gp and
Non-hemorrhagic adverse reactions reported in ≥1% of XARELTO-treated                strong CYP3A4 inducers (e.g., carbamazepine, phenytoin, rifampin,
patients in RECORD 1-3 studies are shown in Table 6.                                St. John’s wort) [see Warnings and Precautions (5.6)].
Table 6: Other Adverse Drug Reactions* Reported by ≥1% of XARELTO-                 7.4 Anticoagulants and NSAIDs/Aspirin
          Treated Patients in RECORD 1-3 Studies                                    Single doses of enoxaparin and XARELTO given concomitantly resulted in
                                                                                    an additive effect on anti-factor Xa activity. Single doses of warfarin and
System/Organ Class                                XARELTO      Enoxaparin†          XARELTO resulted in an additive effect on factor Xa (FXa) inhibition and PT.
     Adverse Reaction                              10 mg                            Concomitant aspirin use has been identified as an independent risk factor
                                                   N=4487        N=4524             for major bleeding in efficacy trials. NSAIDs are known to increase
                                                    n (%)         n (%)             bleeding, and bleeding risk may be increased when NSAIDs are used
Injury, poisoning and procedural                                                    concomitantly with XARELTO. Coadministration of the platelet aggregation
complications                                                                       inhibitor clopidogrel and XARELTO resulted in an increase in bleeding time
      Wound secretion                             125 (2.8)      89 (2.0)           for some subjects [see Clinical Pharmacology (12.3)].
Musculoskeletal and connective tissue                                               Avoid concurrent use of XARELTO with other anticoagulants due to
disorders                                                                           increased bleeding risk unless benefit outweighs risk. Promptly evaluate
                                                                                    any signs or symptoms of blood loss if patients are treated concomitantly
      Pain in extremity                            74 (1.7)      55 (1.2)           with aspirin, other platelet aggregation inhibitors, or NSAIDs [see Warnings
      Muscle spasm                                 52 (1.2)      32 (0.7)           and Precautions (5.2)].
Nervous system disorders                                                            7.5 Drug-Disease Interactions with Drugs that Inhibit Cytochrome P450
      Syncope                                      55 (1.2)      32 (0.7)                 3A4 Enzymes and Drug Transport Systems
Skin and subcutaneous tissue disorders                                              Results from a pharmacokinetic trial with erythromycin indicated that
                                                                                    patients with renal impairment coadministered XARELTO with drugs
      Pruritus                                     96 (2.1)      79 (1.8)           classified as combined P-gp and moderate CYP3A4 inhibitors (e.g.,
      Blister                                      63 (1.4)      40 (0.9)           diltiazem, verapamil, dronedarone, and erythromycin) have increased
                                                                                    exposure compared with patients with normal renal function and no
* Adverse reaction occurring any time following the first dose of double-
  blind medication, which may have been prior to administration of active           inhibitor use. Significant increases in rivaroxaban exposure may increase
  drug, until two days after the last dose of double-blind study medication         bleeding risk.
† Includes the placebo-controlled period of RECORD 2, enoxaparin dosing
  was 40 mg once daily (RECORD 1-3)

                                                                                6
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 8 of 17
XARELTO® (rivaroxaban) tablets                                                            XARELTO® (rivaroxaban) tablets
While increases in rivaroxaban exposure can be expected under such                        renal function administered XARELTO 20 mg once daily. Patients with
conditions, results from an analysis in the ROCKET AF trial, which allowed                CrCl 15 to 30 mL/min were not studied, but administration of XARELTO
concomitant use with combined P-gp and either weak (e.g., amiodarone) or                  15 mg once daily is also expected to result in serum concentrations of
moderate CYP3A4 inhibitors (e.g., diltiazem, verapamil, and erythromycin), did            rivaroxaban similar to those in patients with normal renal function [see
not show an increase in bleeding in patients with CrCl 30 to <50 mL/min                   Dosage and Administration (2.4) and Clinical Pharmacology (12.3)].
[Hazard Ratio (95% CI): 1.05 (0.77, 1.42)] [see Use in Specific Populations (8.7)].       Patients with End-Stage Renal Disease on Dialysis
XARELTO should not be used in patients with CrCl 15 to <80 mL/min who are                 Clinical efficacy and safety studies with XARELTO did not enroll patients
receiving concomitant combined P-gp and moderate CYP3A4 inhibitors (e.g.,                 with end-stage renal disease (ESRD) on dialysis. In patients with ESRD
diltiazem, verapamil, dronedarone, and erythromycin) unless the potential                 maintained on intermittent hemodialysis, administration of XARELTO 15 mg
benefit justifies the potential risk [see Clinical Pharmacology (12.3)].                  once daily will result in concentrations of rivaroxaban and pharmacodynamic
                                                                                          activity similar to those observed in the ROCKET AF study [see Clinical
8     USE IN SPECIFIC POPULATIONS                                                         Pharmacology (12.2, 12.3)]. It is not known whether these concentrations
8.1 Pregnancy                                                                             will lead to similar stroke reduction and bleeding risk in patients with ESRD
Pregnancy Category C                                                                      on dialysis as was seen in ROCKET AF.
There are no adequate or well-controlled studies of XARELTO in pregnant                   Treatment of DVT and/or PE, and Reduction in the Risk of Recurrence of
women, and dosing for pregnant women has not been established. Use                        DVT and of PE
XARELTO with caution in pregnant patients because of the potential for                    In the EINSTEIN trials, patients with CrCl values <30 mL/min at screening
pregnancy related hemorrhage and/or emergent delivery with an                             were excluded from the studies. Avoid the use of XARELTO in patients with
anticoagulant that is not readily reversible. The anticoagulant effect of                 CrCl <30 mL/min.
XARELTO cannot be reliably monitored with standard laboratory testing.                    Prophylaxis of DVT Following Hip or Knee Replacement Surgery
Animal reproduction studies showed no increased risk of structural                        The combined analysis of the RECORD 1-3 clinical efficacy studies did not
malformations, but increased post-implantation pregnancy loss occurred in                 show an increase in bleeding risk for patients with CrCl 30 to 50 mL/min
rabbits. XARELTO should be used during pregnancy only if the potential                    and reported a possible increase in total venous thromboemboli in this
benefit justifies the potential risk to mother and fetus [see Warnings and                population. Observe closely and promptly evaluate any signs or symptoms
Precautions (5.7)].                                                                       of blood loss in patients with CrCl 30 to 50 mL/min. Avoid the use of
Rivaroxaban crosses the placenta in animals. Animal reproduction studies                  XARELTO in patients with CrCl <30 mL/min.
have shown pronounced maternal hemorrhagic complications in rats and                      8.8 Hepatic Impairment
an increased incidence of post-implantation pregnancy loss in rabbits.                    In a pharmacokinetic study, compared to healthy subjects with normal liver
Rivaroxaban increased fetal toxicity (increased resorptions, decreased                    function, AUC increases of 127% were observed in subjects with moderate
number of live fetuses, and decreased fetal body weight) when pregnant                    hepatic impairment (Child-Pugh B).
rabbits were given oral doses of ≥10 mg/kg rivaroxaban during the period
                                                                                          The safety or PK of XARELTO in patients with severe hepatic impairment
of organogenesis. This dose corresponds to about 4 times the human                        (Child-Pugh C) has not been evaluated [see Clinical Pharmacology (12.3)].
exposure of unbound drug, based on AUC comparisons at the highest
recommended human dose of 20 mg/day. Fetal body weights decreased                         Avoid the use of XARELTO in patients with moderate (Child-Pugh B) and
when pregnant rats were given oral doses of 120 mg/kg. This dose                          severe (Child-Pugh C) hepatic impairment or with any hepatic disease
corresponds to about 14 times the human exposure of unbound drug.                         associated with coagulopathy.
8.2 Labor and Delivery                                                                    10 OVERDOSAGE
Safety and effectiveness of XARELTO during labor and delivery have not                    Overdose of XARELTO may lead to hemorrhage. Discontinue XARELTO and
been studied in clinical trials. However, in animal studies maternal bleeding             initiate appropriate therapy if bleeding complications associated with
and maternal and fetal death occurred at the rivaroxaban dose of 40 mg/kg                 overdosage occur. A specific antidote for rivaroxaban is not available.
(about 6 times maximum human exposure of the unbound drug at the                          Rivaroxaban systemic exposure is not further increased at single doses
human dose of 20 mg/day).                                                                 >50 mg due to limited absorption. The use of activated charcoal to reduce
                                                                                          absorption in case of XARELTO overdose may be considered. Due to the
8.3 Nursing Mothers                                                                       high plasma protein binding, rivaroxaban is not dialyzable [see Warnings
It is not known if rivaroxaban is excreted in human milk. Rivaroxaban                     and Precautions (5.2) and Clinical Pharmacology (12.3)]. Partial reversal
and/or its metabolites were excreted into the milk of rats. Because many                  of laboratory anticoagulation parameters may be achieved with use of
drugs are excreted in human milk and because of the potential for serious                 plasma products.
adverse reactions in nursing infants from rivaroxaban, a decision should be
                                                                                          11 DESCRIPTION
made whether to discontinue nursing or discontinue XARELTO, taking into
account the importance of the drug to the mother.                                         Rivaroxaban, a FXa inhibitor, is the active ingredient in XARELTO Tablets
                                                                                          with the chemical name 5-Chloro-N-({(5S)-2-oxo-3-[4-(3-oxo-4-morpholinyl)
8.4 Pediatric Use                                                                         phenyl]-1,3-oxazolidin-5-yl}methyl)-2-thiophenecarboxamide. The molecular
Safety and effectiveness in pediatric patients have not been established.                 formula of rivaroxaban is C19H18ClN3O5S and the molecular weight is 435.89.
8.5 Geriatric Use                                                                         The structural formula is:
Of the total number of patients in the RECORD 1-3 clinical studies
evaluating XARELTO, about 54% were 65 years and over, while about 15%
were >75 years. In ROCKET AF, approximately 77% were 65 years and over
and about 38% were >75 years. In the EINSTEIN DVT, PE and Extension
clinical studies approximately 37% were 65 years and over and about 16%
were >75 years. In clinical trials the efficacy of XARELTO in the elderly
(65 years or older) was similar to that seen in patients younger than
65 years. Both thrombotic and bleeding event rates were higher in these
older patients, but the risk-benefit profile was favorable in all age groups              Rivaroxaban is a pure (S )-enantiomer. It is an odorless, non-hygroscopic,
[see Clinical Pharmacology (12.3) and Clinical Studies (14)].                             white to yellowish powder. Rivaroxaban is only slightly soluble in organic
                                                                                          solvents (e.g., acetone, polyethylene glycol 400) and is practically insoluble
8.6 Females of Reproductive Potential
                                                                                          in water and aqueous media.
Females of reproductive potential requiring anticoagulation should discuss
pregnancy planning with their physician.                                                  Each XARELTO tablet contains 10 mg, 15 mg, or 20 mg of rivaroxaban. The
                                                                                          inactive ingredients of XARELTO are: croscarmellose sodium, hypromellose,
8.7 Renal Impairment                                                                      lactose monohydrate, magnesium stearate, microcrystalline cellulose, and
In pharmacokinetic studies, compared to healthy subjects with normal                      sodium lauryl sulfate. Additionally, the proprietary film coating mixture used
creatinine clearance, rivaroxaban exposure increased by approximately 44                  for XARELTO 10 mg tablets is Opadry® Pink and for XARELTO 15 mg tablets
to 64% in subjects with renal impairment. Increases in pharmacodynamic                    is Opadry® Red, both containing ferric oxide red, hypromellose, polyethylene
effects were also observed [see Clinical Pharmacology (12.3)].                            glycol 3350, and titanium dioxide, and for XARELTO 20 mg tablets is
Nonvalvular Atrial Fibrillation                                                           Opadry® II Dark Red, containing ferric oxide red, polyethylene glycol 3350,
In the ROCKET AF trial, patients with CrCl 30 to 50 mL/min were                           polyvinyl alcohol (partially hydrolyzed), talc, and titanium dioxide.
administered XARELTO 15 mg once daily resulting in serum concentrations
of rivaroxaban and clinical outcomes similar to those in patients with better


                                                                                      7
          Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 9 of 17
XARELTO® (rivaroxaban) tablets                                                         XARELTO® (rivaroxaban) tablets
12 CLINICAL PHARMACOLOGY                                                               Excretion
12.1 Mechanism of Action                                                               In a Phase 1 study, following the administration of [14C]-rivaroxaban, approximately
XARELTO is a selective inhibitor of FXa. It does not require a cofactor (such          one-third (36%) was recovered as unchanged drug in the urine and 7% was
as Anti-thrombin III) for activity. Rivaroxaban inhibits free FXa and                  recovered as unchanged drug in feces. Unchanged drug is excreted into
prothrombinase activity. Rivaroxaban has no direct effect on platelet                  urine, mainly via active tubular secretion and to a lesser extent via
aggregation, but indirectly inhibits platelet aggregation induced by                   glomerular filtration (approximate 5:1 ratio). Rivaroxaban is a substrate of the
thrombin. By inhibiting FXa, rivaroxaban decreases thrombin generation.                efflux transporter proteins P-gp and ABCG2 (also abbreviated Bcrp).
12.2 Pharmacodynamics                                                                  Rivaroxaban’s affinity for influx transporter proteins is unknown.
Dose-dependent inhibition of FXa activity was observed in humans and the               Rivaroxaban is a low-clearance drug, with a systemic clearance of
Neoplastin® prothrombin time (PT), activated partial thromboplastin time               approximately 10 L/hr in healthy volunteers following intravenous
(aPTT) and HepTest® are prolonged dose-dependently. Anti-factor Xa                     administration. The terminal elimination half-life of rivaroxaban is 5 to
activity is also influenced by rivaroxaban.                                            9 hours in healthy subjects aged 20 to 45 years.
Specific Populations                                                                   Specific Populations
Renal Impairment                                                                       The effects of level of renal impairment, age, body weight, and level of
The relationship between systemic exposure and pharmacodynamic activity of
                                                                                       hepatic impairment on the pharmacokinetics of rivaroxaban are
rivaroxaban was altered in subjects with renal impairment relative to healthy
control subjects [see Use in Specific Populations (8.7)].                              summarized in Figure 2.
                                                                                       Figure 2: 
                                                                                                 Effect of Specific Populations on the Pharmacokinetics of
Table 7: Percentage Increase in Rivaroxaban PK and PD Measures in
                                                                                                 Rivaroxaban
          Subjects with Renal Impairment Relative to Healthy Subjects
          from Clinical Pharmacology Studies
                                        Creatinine Clearance (mL/min)
    Measure         Parameter 50-79 30-49 15-29 ESRD (on              ESRD
                                                dialysis)*            (post-
                                                                    dialysis)*
 Exposure        AUC              44      52      64        47           56
 FXa Inhibition  AUEC             50     86      100       49            33
 PT Prolongation AUEC             33     116     144       112          158
*Separate stand-alone study.
PT = Prothrombin time; FXa = Coagulation factor Xa; AUC = Area under the
plasma concentration-time curve; AUEC = Area under the effect-time curve
Hepatic Impairment
Anti-Factor Xa activity was similar in subjects with normal hepatic function and
in mild hepatic impairment (Child-Pugh A class). There is no clear understanding
of the impact of hepatic impairment beyond this degree on the coagulation
cascade and its relationship to efficacy and safety.
12.3 Pharmacokinetics
Absorption
The absolute bioavailability of rivaroxaban is dose-dependent. For the
10 mg dose, it is estimated to be 80% to 100% and is not affected by food.
XARELTO 10 mg tablets can be taken with or without food. For the 20 mg
dose in the fasted state, the absolute bioavailability is approximately 66%.
Coadministration of XARELTO with food increases the bioavailability of the
20 mg dose (mean AUC and Cmax increasing by 39% and 76% respectively
with food). XARELTO 15 mg and 20 mg tablets should be taken with food
[see Dosage and Administration (2.2)].
The maximum concentrations (Cmax) of rivaroxaban appear 2 to 4 hours after
tablet intake. The pharmacokinetics of rivaroxaban were not affected by
drugs altering gastric pH. Coadministration of XARELTO (30 mg single dose)
with the H2-receptor antagonist ranitidine (150 mg twice daily), the antacid
aluminum hydroxide/magnesium hydroxide (10 mL) or XARELTO (20 mg
single dose) with the PPI omeprazole (40 mg once daily) did not show an
effect on the bioavailability and exposure of rivaroxaban (see Figure 3).              Gender
Absorption of rivaroxaban is dependent on the site of drug release in the GI           Gender did not influence the pharmacokinetics or pharmacodynamics of
tract. A 29% and 56% decrease in AUC and Cmax compared to tablet was                   XARELTO.
reported when rivaroxaban granulate is released in the proximal small
intestine. Exposure is further reduced when drug is released in the distal small       Race
intestine, or ascending colon. Avoid administration of rivaroxaban distal to the       Healthy Japanese subjects were found to have 20 to 40% on average
stomach which can result in reduced absorption and related drug exposure.              higher exposures compared to other ethnicities including Chinese.
                                                                                       However, these differences in exposure are reduced when values are
In a study with 44 healthy subjects, both mean AUC and Cmax values for
                                                                                       corrected for body weight.
20 mg rivaroxaban administered orally as a crushed tablet mixed in
applesauce were comparable to that after the whole tablet. However, for                Elderly
the crushed tablet suspended in water and administered via an NG tube                  The terminal elimination half-life is 11 to 13 hours in the elderly subjects
followed by a liquid meal, only mean AUC was comparable to that after the              aged 60 to 76 years [see Use in Specific Populations (8.5)].
whole tablet, and Cmax was 18% lower.                                                  Renal Impairment
Distribution                                                                           The safety and pharmacokinetics of single-dose XARELTO (10 mg) were
Plasma protein binding of rivaroxaban in human plasma is approximately                 evaluated in a study in healthy subjects [CrCl ≥80 mL/min (n=8)] and in
92% to 95%, with albumin being the main binding component. The steady-                 subjects with varying degrees of renal impairment (see Figure 2).
state volume of distribution in healthy subjects is approximately 50 L.                Compared to healthy subjects with normal creatinine clearance,
Metabolism                                                                             rivaroxaban exposure increased in subjects with renal impairment.
Approximately 51% of an orally administered [14C]-rivaroxaban dose was                 Increases in pharmacodynamic effects were also observed [see Use in
recovered as inactive metabolites in urine (30%) and feces (21%). Oxidative            Specific Populations (8.7)].
degradation catalyzed by CYP3A4/5 and CYP2J2 and hydrolysis are the major
sites of biotransformation. Unchanged rivaroxaban was the predominant
moiety in plasma with no major or active circulating metabolites.
                                                                                   8
         Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 10 of 17
XARELTO® (rivaroxaban) tablets                                                        XARELTO® (rivaroxaban) tablets
Hemodialysis in ESRD subjects: Systemic exposure to rivaroxaban                       Anticoagulants
administered as a single 15 mg dose in ESRD subjects dosed 3 hours after the          In a drug interaction study, single doses of enoxaparin (40 mg subcutaneous)
completion of a 4-hour hemodialysis session (post-dialysis) is 56% higher             and XARELTO (10 mg) given concomitantly resulted in an additive effect on
when compared to subjects with normal renal function (see Table 7). The               anti-factor Xa activity. In another study, single doses of warfarin (15 mg) and
systemic exposure to rivaroxaban administered 2 hours prior to a 4-hour               XARELTO (5 mg) resulted in an additive effect on factor Xa inhibition and PT.
hemodialysis session with a dialysate flow rate of 600 mL/min and a blood flow        Neither enoxaparin nor warfarin affected the pharmacokinetics of rivaroxaban
rate in the range of 320 to 400 mL/min is 47% higher compared to those with           (see Figure 3).
normal renal function. The extent of the increase is similar to the increase in       NSAIDs/Aspirin
patients with CrCl 15 to 50 mL/min taking XARELTO 15 mg. Hemodialysis had no          In ROCKET AF, concomitant aspirin use (almost exclusively at a dose of
significant impact on rivaroxaban exposure. Protein binding was similar (86%          100 mg or less) during the double-blind phase was identified as an
to 89%) in healthy controls and ESRD subjects in this study.                          independent risk factor for major bleeding. NSAIDs are known to increase
Hepatic Impairment                                                                    bleeding, and bleeding risk may be increased when NSAIDs are used
The safety and pharmacokinetics of single-dose XARELTO (10 mg) were                   concomitantly with XARELTO. Neither naproxen nor aspirin affected the
evaluated in a study in healthy subjects (n=16) and subjects with varying             pharmacokinetics of rivaroxaban (see Figure 3).
degrees of hepatic impairment (see Figure 2). No patients with severe                 Clopidogrel
hepatic impairment (Child-Pugh C) were studied. Compared to healthy                   In two drug interaction studies where clopidogrel (300 mg loading dose
subjects with normal liver function, significant increases in rivaroxaban             followed by 75 mg daily maintenance dose) and XARELTO (15 mg single
exposure were observed in subjects with moderate hepatic impairment                   dose) were coadministered in healthy subjects, an increase in bleeding
(Child-Pugh B) (see Figure 2). Increases in pharmacodynamic effects were              time to 45 minutes was observed in approximately 45% and 30% of subjects
also observed [see Use in Specific Populations (8.8)].                                in these studies, respectively. The change in bleeding time was
Drug Interactions                                                                     approximately twice the maximum increase seen with either drug alone.
In vitro studies indicate that rivaroxaban neither inhibits the major                 There was no change in the pharmacokinetics of either drug.
cytochrome P450 enzymes CYP1A2, 2C8, 2C9, 2C19, 2D6, 2J2, and 3A4 nor                 Drug-Disease Interactions with Drugs that Inhibit Cytochrome P450 3A4
induces CYP1A2, 2B6, 2C19, or 3A4. In vitro data also indicates a low                 Enzymes and Drug Transport Systems
rivaroxaban inhibitory potential for P-gp and ABCG2 transporters.                     In a pharmacokinetic trial, XARELTO was administered as a single dose in
The effects of coadministered drugs on the pharmacokinetics of                        subjects with mild (CrCl = 50 to 79 mL/min) or moderate renal impairment
rivaroxaban exposure are summarized in Figure 3 [see Drug Interactions (7)            (CrCl = 30 to 49 mL/min) receiving multiple doses of erythromycin
for dosing recommendations].                                                          (a combined P-gp and moderate CYP3A4 inhibitor). Compared to
                                                                                      XARELTO administered alone in subjects with normal renal function
Figure 3: 
          Effect of Coadministered Drugs on the Pharmacokinetics of                   (CrCl >80 mL/min), subjects with mild and moderate renal impairment
          Rivaroxaban                                                                 concomitantly receiving erythromycin reported a 76% and 99% increase in
                                                                                      AUCinf and a 56% and 64% increase in Cmax, respectively. Similar trends in
                                                                                      pharmacodynamic effects were also observed.
                                                                                      12.6 QT/QTc Prolongation
                                                                                      In a thorough QT study in healthy men and women aged 50 years and older,
                                                                                      no QTc prolonging effects were observed for XARELTO (15 mg and 45 mg,
                                                                                      single-dose).
                                                                                      13 NON-CLINICAL TOXICOLOGY
                                                                                      13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
                                                                                      Rivaroxaban was not carcinogenic when administered by oral gavage to
                                                                                      mice or rats for up to 2 years. The systemic exposures (AUCs) of unbound
                                                                                      rivaroxaban in male and female mice at the highest dose tested (60 mg/kg/
                                                                                      day) were 1- and 2-times, respectively, the human exposure of unbound
                                                                                      drug at the human dose of 20 mg/day. Systemic exposures of unbound drug
                                                                                      in male and female rats at the highest dose tested (60 mg/kg/day) were
                                                                                      2- and 4-times, respectively, the human exposure.
                                                                                      Rivaroxaban was not mutagenic in bacteria (Ames-Test) or clastogenic in
                                                                                      V79 Chinese hamster lung cells in vitro or in the mouse micronucleus test
                                                                                      in vivo.
                                                                                      No impairment of fertility was observed in male or female rats when given
                                                                                      up to 200 mg/kg/day of rivaroxaban orally. This dose resulted in exposure
                                                                                      levels, based on the unbound AUC, at least 13 times the exposure in
                                                                                      humans given 20 mg rivaroxaban daily.
                                                                                      14 CLINICAL STUDIES
                                                                                      14.1 Stroke Prevention in Nonvalvular Atrial Fibrillation
                                                                                      The evidence for the efficacy and safety of XARELTO was derived from
                                                                                      ROCKET AF, a multi-national, double-blind study comparing XARELTO (at a
                                                                                      dose of 20 mg once daily with the evening meal in patients with
                                                                                      CrCl >50 mL/min and 15 mg once daily with the evening meal in patients
                                                                                      with CrCl 30 to 50 mL/min) to warfarin (titrated to INR 2.0 to 3.0) to reduce
                                                                                      the risk of stroke and non-central nervous system (CNS) systemic
                                                                                      embolism in patients with nonvalvular atrial fibrillation (AF). Patients had to
                                                                                      have one or more of the following additional risk factors for stroke:
                                                                                      • a prior stroke (ischemic or unknown type), transient ischemic attack
                                                                                        (TIA) or non‑CNS systemic embolism, or
                                                                                      • 2 or more of the following risk factors:
                                                                                        o age ≥75 years,
                                                                                        o hypertension,
                                                                                        o heart failure or left ventricular ejection fraction ≤35%, or
                                                                                        o diabetes mellitus



                                                                                  9
        Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 11 of 17
XARELTO® (rivaroxaban) tablets                                                       XARELTO® (rivaroxaban) tablets
ROCKET AF was a non-inferiority study designed to demonstrate that                   Figure 5 shows the risk of stroke or non-CNS systemic embolism across
XARELTO preserved more than 50% of warfarin’s effect on stroke and non-              major subgroups.
CNS systemic embolism as established by previous placebo-controlled                  Figure 5: 
                                                                                               Risk of Stroke or Non-CNS Systemic Embolism by Baseline
studies of warfarin in atrial fibrillation.                                                    Characteristics in ROCKET AF* (Intent-to-Treat Population)
A total of 14264 patients were randomized and followed on study treatment
for a median of 590 days. The mean age was 71 years and the mean CHADS2
score was 3.5. The population was 60% male, 83% Caucasian, 13% Asian
and 1.3% Black. There was a history of stroke, TIA, or non-CNS systemic
embolism in 55% of patients, and 38% of patients had not taken a vitamin K
antagonist (VKA) within 6 weeks at time of screening. Concomitant diseases
of patients in this study included hypertension 91%, diabetes 40%,
congestive heart failure 63%, and prior myocardial infarction 17%. At
baseline, 37% of patients were on aspirin (almost exclusively at a dose of
100 mg or less) and few patients were on clopidogrel. Patients were enrolled
in Eastern Europe (39%); North America (19%); Asia, Australia, and New
Zealand (15%); Western Europe (15%); and Latin America (13%). Patients
randomized to warfarin had a mean percentage of time in the INR target
range of 2.0 to 3.0 of 55%, lower during the first few months of the study.
In ROCKET AF, XARELTO was demonstrated non-inferior to warfarin for the
primary composite endpoint of time to first occurrence of stroke (any type)
or non-CNS systemic embolism [HR (95% CI): 0.88 (0.74, 1.03)], but
superiority to warfarin was not demonstrated. There is insufficient
experience to determine how XARELTO and warfarin compare when
warfarin therapy is well-controlled.
Table 8 displays the overall results for the primary composite endpoint and
its components.
Table 8: Primary Composite Endpoint Results in ROCKET AF Study                      * Data are shown for all randomized patients followed to site notification
          (Intent-to-Treat Population)                                               that the study would end.
                                                                                     Note: The figure above presents effects in various subgroups all of which
                          XARELTO                Warfarin        XARELTO             are baseline characteristics and all of which were pre-specified (diabetic
                                                                   vs.               status was not pre-specified in the subgroup, but was a criterion for the
                                                                 Warfarin            CHADS2 score). The 95% confidence limits that are shown do not take into
                     N=7081 Event Rate N=7090 Event Rate Hazard                      account how many comparisons were made, nor do they reflect the effect
Event                 n (%)  (per 100   n (%)  (per 100    Ratio                     of a particular factor after adjustment for all other factors. Apparent
                              Pt-yrs)           Pt-yrs)  (95% CI)                    homogeneity or heterogeneity among groups should not be over-interpreted.
Primary Composite                                                    0.88
                  269 (3.8)       2.1      306 (4.3)     2.4                         The efficacy of XARELTO was generally consistent across major subgroups.
Endpoint*                                                        (0.74, 1.03)
                                                                                     The protocol for ROCKET AF did not stipulate anticoagulation after study
Stroke            253 (3.6)       2.0      281 (4.0)     2.2
                                                                                     drug discontinuation, but warfarin patients who completed the study were
  Hemorrhagic                                                                        generally maintained on warfarin. XARELTO patients were generally
                   33 (0.5)       0.3      57 (0.8)      0.4
  Stroke†                                                                            switched to warfarin without a period of coadministration of warfarin and
  Ischemic Stroke 206 (2.9)       1.6      208 (2.9)     1.6                         XARELTO, so that they were not adequately anticoagulated after stopping
  Unknown Stroke                                                                     XARELTO until attaining a therapeutic INR. During the 28 days following the
                   19 (0.3)       0.2      18 (0.3)      0.1                         end of the study, there were 22 strokes in the 4637 patients taking XARELTO
  Type
                                                                                     vs. 6 in the 4691 patients taking warfarin.
Non-CNS Systemic
                   20 (0.3)       0.2      27 (0.4)      0.2                         Few patients in ROCKET AF underwent electrical cardioversion for atrial
Embolism
                                                                                     fibrillation. The utility of XARELTO for preventing post-cardioversion stroke
* The primary endpoint was the time to first occurrence of stroke (any               and systemic embolism is unknown.
  type) or non-CNS systemic embolism. Data are shown for all randomized
  patients followed to site notification that the study would end.                   14.2 Treatment of Deep Vein Thrombosis (DVT), Pulmonary Embolism (PE),
† Defined as primary hemorrhagic strokes confirmed by adjudication in all                 and Reduction in the Risk of Recurrence of DVT and of PE
  randomized patients followed up to site notification                               EINSTEIN Deep Vein Thrombosis and EINSTEIN Pulmonary Embolism
Figure 4 is a plot of the time from randomization to the occurrence of the           Studies
first primary endpoint event in the two treatment arms.                              XARELTO for the treatment of DVT and/or PE and for the reduction in the
                                                                                     risk of recurrence of DVT and of PE was studied in EINSTEIN DVT and
Figure 4: Time to First Occurrence of Stroke (any type) or Non-CNS Systemic         EINSTEIN PE, multi-national, open-label, non-inferiority studies comparing
           Embolism by Treatment Group (Intent-to-Treat Population)                  XARELTO (at an initial dose of 15 mg twice daily with food for the first three
                                                                                     weeks, followed by XARELTO 20 mg once daily with food) to enoxaparin
                                                                                     1 mg/kg twice daily for at least five days with VKA and then continued with
                                                                                     VKA only after the target INR (2.0-3.0) was reached. Patients who required
                                                                                     thrombectomy, insertion of a caval filter, or use of a fibrinolytic agent and
                                                                                     patients with creatinine clearance <30 mL/min, significant liver disease, or
                                                                                     active bleeding were excluded from the studies. The intended treatment
                                                                                     duration was 3, 6, or 12 months based on investigator’s assessment prior
                                                                                     to randomization.
                                                                                     A total of 8281 (3449 in EINSTEIN DVT and 4832 in EINSTEIN PE) patients
                                                                                     were randomized and followed on study treatment for a mean of 208 days
                                                                                     in the XARELTO group and 204 days in the enoxaparin/VKA group. The
                                                                                     mean age was approximately 57 years. The population was 55% male, 70%
                                                                                     Caucasian, 9% Asian and about 3% Black. About 73% and 92% of
                                                                                     XARELTO-treated patients in the EINSTEIN DVT and EINSTEIN PE studies,
                                                                                     respectively, received initial parenteral anticoagulant treatment for a
                                                                                     median duration of 2 days. Enoxaparin/VKA-treated patients in the
                                                                                     EINSTEIN DVT and EINSTEIN PE studies received initial parenteral
                                                                                     anticoagulant treatment for a median duration of 8 days. Aspirin was taken
                                                                                     as on treatment concomitant antithrombotic medication by approximately
                                                                                10
         Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 12 of 17
XARELTO® (rivaroxaban) tablets                                                          XARELTO® (rivaroxaban) tablets
12% of patients in both treatment groups. Patients randomized to VKA had                Figure 6: Time to First Occurrence of the Composite of Recurrent DVT
an unadjusted mean percentage of time in the INR target range of 2.0 to 3.0                        or Non-fatal or Fatal PE by Treatment Group (Intent-to-Treat
of 58% in EINSTEIN DVT study and 60% in EINSTEIN PE study, with the                                Population) – EINSTEIN DVT Study
lower values occurring during the first month of the study.
                                                                                                                                    4.0
In the EINSTEIN DVT and EINSTEIN PE studies, 49% of patients had an                                                                                  Enoxaparin/VKA
                                                                                                                                                     XARELTO
idiopathic DVT/PE at baseline. Other risk factors included previous episode                                                         3.5
of DVT/PE (19%), recent surgery or trauma (18%), immobilization (16%), use
of estrogen-containing drug (8%), known thrombophilic conditions (6%), or                                                           3.0
active cancer (5%).




                                                                                                    Cumulative Event Rate (%)
                                                                                                                                    2.5
In the EINSTEIN DVT and EINSTEIN PE studies, XARELTO was demonstrated
to be non-inferior to enoxaparin/VKA for the primary composite endpoint of                                                          2.0
time to first occurrence of recurrent DVT or non-fatal or fatal PE [EINSTEIN
DVT HR (95% CI): 0.68 (0.44, 1.04); EINSTEIN PE HR (95% CI): 1.12 (0.75, 1.68)].                                                    1.5

In each study the conclusion of non-inferiority was based on the upper limit
of the 95% confidence interval for the hazard ratio being less than 2.0.                                                            1.0


Table 9 displays the overall results for the primary composite endpoint and                                                         0.5
its components for EINSTEIN DVT and EINSTEIN PE studies.                                                                                                                                                       HR (95% CI):
                                                                                                                                                                                                               0.68 (0.44, 1.04)
                                                                                                                                    0.0
Table 9: Primary Composite Endpoint Results* in EINSTEIN DVT and
                                                                                                                                          0   30       60     90      120    150    180    210   240    270   300    330     360
          EINSTEIN PE Studies – Intent-to-Treat Population                                                                                                             Days from Randomization
                                XARELTO      Enoxaparin/       XARELTO vs.               Number of Patients at Risk
                                 20 mg†         VKA†         Enoxaparin/VKA              Enoxaparin/VKA (N= 1718)                             1616    1581   1565     1368   1358   1301   380    362   342   325    297      264
 Event
                                                              Hazard Ratio               XARELTO (N= 1731)                                    1668    1648   1635     1424   1412   1369   400    369   364   345    309      266

                                                                 (95% CI)
                                 N=1731         N=1718                                  Figure 7: Time to First Occurrence of the Composite of Recurrent DVT
 EINSTEIN DVT Study
                                  n (%)          n (%)                                             or Non-fatal or Fatal PE by Treatment Group (Intent-to-Treat
 Primary Composite                                                                                 Population) – EINSTEIN PE Study
                                 36 (2.1)       51 (3.0)      0.68 (0.44, 1.04)
 Endpoint                                                                                                                           4.0
                                                                                                                                                     Enoxaparin/VKA
  Death (PE)                     1 (<0.1)          0                                                                                                 XARELTO
                                                                                                                                    3.5
  Death (PE cannot be
                                  3 (0.2)       6 (0.3)
  excluded)                                                                                             Cumulative Event Rate (%)
                                                                                                                                    3.0

  Symptomatic PE and DVT         1 (<0.1)          0
                                                                                                                                    2.5
  Symptomatic recurrent
                                 20 (1.2)       18 (1.0)
  PE only                                                                                                                           2.0

  Symptomatic recurrent
                                 14 (0.8)       28 (1.6)                                                                            1.5
  DVT only
                                 N=2419         N=2413                                                                              1.0
 EINSTEIN PE Study
                                  n (%)          n (%)
                                                                                                                                    0.5
 Primary Composite
                                 50 (2.1)       44 (1.8)      1.12 (0.75, 1.68)                                                                                                                                 HR (95% CI):
 Endpoint                                                                                                                           0.0
                                                                                                                                                                                                                1.12 (0.75, 1.68)


  Death (PE)                      3 (0.1)       1 (<0.1)                                                                                  0    30      60     90      120    150    180    210    240   270   300    330      360

  Death (PE cannot be                                                                                                                                                   Days from Randomization
                                  8 (0.3)       6 (0.2)
  excluded)                                                                              Number of Patients at Risk
                                                                                         Enoxaparin/VKA (N= 2413)                             2316    2295   2280     2155   2146   2113   835    787   773   746     722     675
  Symptomatic PE and DVT            0           2 (<0.1)                                 XARELTO (N= 2419)                                    2350    2321   2311     2180   2167   2133   837    794   785   757     725     672

  Symptomatic recurrent
                                 23 (1.0)       20 (0.8)
  PE only                                                                               EINSTEIN Extension Study
  Symptomatic recurrent                                                                 XARELTO for reduction in the risk of recurrence of DVT and of PE was
                                 18 (0.7)       17 (0.7)
  DVT only                                                                              studied in the EINSTEIN Extension study, a multi-national, double-blind,
* For the primary efficacy analysis, all confirmed events were considered               superiority study comparing XARELTO (20 mg once daily with food) to
  from randomization up to the end of intended treatment duration (3, 6 or              placebo in patients who had completed 6 to 14 months of treatment for DVT
  12 months) irrespective of the actual treatment duration. If the same                 and/or PE following the acute event. The intended treatment duration was 6
  patient had several events, the patient may have been counted for                     or 12 months based on investigator’s assessment prior to randomization.
  several components.                                                                   A total of 1196 patients were randomized and followed on study treatment
† Treatment schedule in EINSTEIN DVT and EINSTEIN PE studies: XARELTO
                                                                                        for a mean of 190 days for both XARELTO and placebo treatment groups.
  15 mg twice daily for 3 weeks followed by 20 mg once daily; enoxaparin/               The mean age was approximately 58 years. The population was 58% male,
  VKA [enoxaparin: 1 mg/kg twice daily, VKA: individually titrated doses to             78% Caucasian, 8% Asian and about 2% Black. Aspirin was taken as
  achieve a target INR of 2.5 (range: 2.0-3.0)]                                         on-treatment concomitant antithrombotic medication by approximately 12%
Figures 6 and 7 are plots of the time from randomization to the occurrence              of patients in both treatment groups. In the EINSTEIN Extension study
of the first primary efficacy endpoint event in the two treatment groups in             about 60% of patients had a history of proximal index DVT without PE event
EINSTEIN DVT and EINSTEIN PE studies, respectively.                                     and 29% of patients had a PE without symptomatic DVT event. About 59%
                                                                                        of patients had an idiopathic DVT/PE. Other risk factors included previous
                                                                                        episode of DVT/PE (16%), immobilization (14%), known thrombophilic
                                                                                        conditions (8%), or active cancer (5%).
                                                                                        In the EINSTEIN Extension study XARELTO was demonstrated to be
                                                                                        superior to placebo for the primary composite endpoint of time to first
                                                                                        occurrence of recurrent DVT or non-fatal or fatal PE [HR (95% CI): 0.18
                                                                                        (0.09, 0.39)].




                                                                                   11
                      Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 13 of 17
XARELTO® (rivaroxaban) tablets                                                                                                          XARELTO® (rivaroxaban) tablets
Table 10 displays the overall results for the primary composite endpoint and                                                            Table 11: Summary of Key Efficacy Analysis Results for Patients
its components.                                                                                                                                    Undergoing Total Hip Replacement Surgery - Modified
                                                                                                                                                   Intent-to-Treat Population
Table 10: Primary Composite Endpoint Results* in EINSTEIN Extension
           Study – Intent-to-Treat Population                                                                                                                        RECORD 1                                RECORD 2

                                                                      XARELTO Placebo                    XARELTO vs.                     Treatment        XARELTO Enoxaparin                     XARELTO Enoxaparin†
                                                                                                                                         Dosage and        10 mg      40 mg        RRR*,          10 mg      40 mg     RRR*,
                                                                       20 mg   N=594                       Placebo                       Duration        once daily once daily    p-value       once daily once daily p-value
Event
                                                                       N=602   n (%)                     Hazard Ratio
                                                                       n (%)                               (95% CI)                      Number of        N=1513      N=1473                      N=834       N=835
                                                                                                                                         Patients
                                                                                                        0.18 (0.09, 0.39)
Primary Composite Endpoint                                              8 (1.3)         42 (7.1)                                         Total VTE       17 (1.1%)   57 (3.9%)   71% (95% 17 (2.0%)          70 (8.4%)   76% (95%
                                                                                                       p-value = <0.0001                                                         CI: 50, 83),                            CI: 59, 86),
   Death (PE)                                                               0           1 (0.2)                                                                                   p<0.001                                 p<0.001
   Death (PE cannot be excluded)                                        1 (0.2)            0                                             Components of Total VTE
                                                                                                                                          Proximal DVT    1 (0.1%)   31 (2.1%)                   5 (0.6%)    40 (4.8%)
   Symptomatic recurrent PE                                             2 (0.3)         13 (2.2)
                                                                                                                                          Distal DVT     12 (0.8%)   26 (1.8%)                   11 (1.3%)   43 (5.2%)
   Symptomatic recurrent DVT                                            5 (0.8)         31 (5.2)
                                                                                                                                          Non-fatal PE    3 (0.2%)    1 (0.1%)                   1 (0.1%)     4 (0.5%)
* For the primary efficacy analysis, all confirmed events were considered                                                                 Death (any      4 (0.3%)    4 (0.3%)                   2 (0.2%)     4 (0.5%)
  from randomization up to the end of intended treatment duration (6 or                                                                   cause)
  12 months) irrespective of the actual treatment duration.
                                                                                                                                         Number of        N=1600      N=1587                      N=928       N=929
Figure 8 is a plot of the time from randomization to the occurrence of the                                                               Patients
first primary efficacy endpoint event in the two treatment groups.                                                                       Major VTE‡       3 (0.2%)   33 (2.1%)   91% (95%        6 (0.7%)    45 (4.8%)   87% (95%
                                                                                                                                                                                 CI: 71, 97),                            CI: 69, 94),
Figure 8: Time to First Occurrence of the Composite of Recurrent DVT                                                                                                             p<0.001                                 p<0.001
           or Non-fatal or Fatal PE by Treatment Group (Intent-to-Treat                                                                  Number of        N=2103      N=2119                      N=1178      N=1179
           Population) – EINSTEIN Extension Study                                                                                        Patients
                                       10                                                                                                Symptomatic      5 (0.2%)   11 (0.5%)                   3 (0.3%)    15 (1.3%)
                                                      Placebo
                                                      XARELTO
                                                                                                                                         VTE
                                        9
                                                                                                                                        * Relative Risk Reduction; CI = confidence interval
                                        8                                                                                               † Includes the placebo-controlled period of RECORD 2
                                                                                                                                        ‡ Proximal DVT, nonfatal PE or VTE-related death
                                        7
           Cumulative Event Rate (%)




                                       6                                                                                                One randomized, double-blind, clinical study (RECORD 3) in patients undergoing
                                       5
                                                                                                                                        elective total knee replacement surgery compared XARELTO 10 mg once daily
                                                                                                                                        started at least 6 to 8 hours (about 90% of patients dosed 6 to 10 hours) after
                                       4                                                                                                wound closure versus enoxaparin. In RECORD 3, the enoxaparin regimen was
                                       3                                                                                                40 mg once daily started 12 hours preoperatively. The mean age (± SD) of
                                                                                                                                        patients in the study was 68 ± 9.0 (range 28 to 91) years with 66% of patients
                                       2
                                                                                                                                        ≥65 years. Sixty-eight percent (68%) of patients were female. Eighty-one
                                       1                                                                                                percent (81%) of patients were White, less than 7% were Asian, and less than
                                                                                                                                        2% were Black. The study excluded patients with severe renal impairment
                                                                                                               HR (95% CI):
                                                                                                               0.18 (0.09, 0.39)
                                       0
                                                                                                                                        defined as an estimated creatinine clearance <30 mL/min or patients with
                                            0   30     60       90    120   150   180    210     240    270   300   330      360
                                                                                                                                        significant liver disease (hepatitis or cirrhosis). The mean exposure duration
                                                                       Days from Randomization
                                                                                                                                        (± SD) to active XARELTO and enoxaparin was 11.9 ± 2.3 and 12.5 ± 3.0 days,
Number of Patients at Risk                                                                                                              respectively. The efficacy data are provided in Table 12.
Placebo (N= 594)                                582    570      559   522   468   453    164     138    134   110     93      85
XARELTO (N= 602)                                590    583      577   552   503   491    171     138    133   114     92      81
                                                                                                                                        Table 12: Summary of Key Efficacy Analysis Results for Patients
                                                                                                                                                   Undergoing Total Knee Replacement Surgery - Modified
14.3 Prophylaxis of Deep Vein Thrombosis Following Hip or Knee                                                                                     Intent-to-Treat Population
     Replacement Surgery                                                                                                                                                                          RECORD 3
XARELTO was studied in 9011 patients (4487 XARELTO-treated, 4524                                                                         Treatment Dosage and               XARELTO             Enoxaparin           RRR*,
enoxaparin-treated patients) in the RECORD 1, 2, and 3 studies.                                                                          Duration                          10 mg once             40 mg             p-value
The two randomized, double-blind, clinical studies (RECORD 1 and 2) in                                                                                                        daily             once daily
patients undergoing elective total hip replacement surgery compared                                                                     Number of Patients                    N=813               N=871
XARELTO 10 mg once daily starting at least 6 to 8 hours (about 90% of
                                                                                                                                        Total VTE                           79 (9.7%)           164 (18.8%)         48%
patients dosed 6 to 10 hours) after wound closure versus enoxaparin 40 mg                                                                                                                                      (95% CI: 34, 60),
once daily started 12 hours preoperatively. In RECORD 1 and 2, a total of                                                                                                                                          p<0.001
6727 patients were randomized and 6579 received study drug. The mean
age [± standard deviation (SD)] was 63 ± 12.2 (range 18 to 93) years with                                                                Components of events contributing to Total VTE
49% of patients ≥65 years and 55% of patients were female. More than                                                                      Proximal DVT                9 (1.1%)       19 (2.2%)
82% of patients were White, 7% were Asian, and less than 2% were Black.                                                                   Distal DVT                  74 (9.1%)     154 (17.7%)
The studies excluded patients undergoing staged bilateral total hip
replacement, patients with severe renal impairment defined as an                                                                          Non-fatal PE                    0           4 (0.5%)
estimated creatinine clearance <30 mL/min, or patients with significant                                                                   Death (any cause)               0           2 (0.2%)
liver disease (hepatitis or cirrhosis). In RECORD 1, the mean exposure                                                                   Number of Patients             N=895          N=917
duration (± SD) to active XARELTO and enoxaparin was 33.3 ± 7.0 and
                                                                                                                                         Major VTE†                   9 (1.0%)       23 (2.5%)                      60%
33.6 ± 8.3 days, respectively. In RECORD 2, the mean exposure duration to
                                                                                                                                                                                                               (95% CI: 14, 81),
active XARELTO and enoxaparin was 33.5 ± 6.9 and 12.4 ± 2.9 days,                                                                                                                                                 p = 0.024
respectively. After Day 13, oral placebo was continued in the enoxaparin
group for the remainder of the double-blind study duration. The efficacy                                                                 Number of Patients                  N=1206               N=1226
data for RECORD 1 and 2 are provided in Table 11.                                                                                        Symptomatic VTE                     8 (0.7%)            24 (2.0%)
                                                                                                                                        * Relative Risk Reduction; CI = confidence interval
                                                                                                                                        † Proximal DVT, nonfatal PE or VTE-related death




                                                                                                                                   12
         Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 14 of 17
XARELTO® (rivaroxaban) tablets                                                       XARELTO® (rivaroxaban) tablets
16 HOW SUPPLIED/STORAGE AND HANDLING                                                 Invasive or Surgical Procedures
XARELTO (rivaroxaban) Tablets are available in the strengths and packages            Instruct patients to inform their healthcare professional that they are taking
listed below:                                                                        XARELTO before any invasive procedure (including dental procedures) is
• 10 mg tablets are round, light red, biconvex film-coated tablets marked            scheduled.
   with a triangle pointing down above a “10” on one side, and “Xa” on the           Concomitant Medication and Herbals
   other side. The tablets are supplied in the packages listed:                      Advise patients to inform their physicians and dentists if they are taking, or
   NDC 50458-580-30 Bottle containing 30 tablets                                     plan to take, any prescription or over-the-counter drugs or herbals, so their
   NDC 50458-580-10	   Blister package containing 100 tablets (10 blister           healthcare professionals can evaluate potential interactions [see Drug
                        cards containing 10 tablets each)                            Interactions (7)].
• 15 mg tablets are round, red, biconvex film-coated tablets with a triangle         Pregnancy and Pregnancy-Related Hemorrhage
   pointing down above a “15” marked on one side and “Xa” on the other               • Advise patients to inform their physician immediately if they become
   side. The tablets are supplied in the packages listed:                              pregnant or intend to become pregnant during treatment with XARELTO
   NDC 50458-578-30 Bottle containing 30 tablets                                       [see Use in Specific Populations (8.1)].
   NDC 50458-578-90 Bottle containing 90 tablets                                     • Advise pregnant women receiving XARELTO to immediately report to
                                                                                       their physician any bleeding or symptoms of blood loss [see Warnings
   NDC 50458-578-10 	  Blister package containing 100 tablets (10 blister             and Precautions (5.7)].
                        cards containing 10 tablets each)
                                                                                     Nursing
• 20 mg tablets are triangle-shaped, dark red film-coated tablets with a
                                                                                     Advise patients to discuss with their physician if they are nursing or intend to
   triangle pointing down above a “20” marked on one side and “Xa” on the
                                                                                     nurse during anticoagulant treatment [see Use in Specific Populations (8.3)].
   other side. The tablets are supplied in the packages listed:
   NDC 50458-579-30 Bottle containing 30 tablets                                     Females of Reproductive Potential
   NDC 50458-579-90 Bottle containing 90 tablets                                     Advise patients who can become pregnant to discuss pregnancy planning
   NDC 50458-579-10 	  Blister package containing 100 tablets (10 blister           with their physician [see Use in Specific Populations (8.6)].
                        cards containing 10 tablets each)
• Starter Pack for treatment of deep vein thrombosis and treatment of                Active Ingredient Made in Germany
  pulmonary embolism:
                                                                                     Finished Product Manufactured by:
  NDC 50458-584-51	   30-day starter blister pack containing 51 tablets:            Janssen Ortho, LLC
                       42 tablets of 15 mg and 9 tablets of 20 mg                    Gurabo, PR 00778
Store at 25°C (77°F) or room temperature; excursions permitted to 15°-30°C           or
(59°-86°F) [see USP Controlled Room Temperature].
                                                                                     Bayer Pharma AG
Keep out of the reach of children.                                                   51368 Leverkusen, Germany
17 PATIENT COUNSELING INFORMATION                                                    Manufactured for:
See FDA-approved patient labeling (Medication Guide).                                Janssen Pharmaceuticals, Inc.
Instructions for Patient Use                                                         Titusville, NJ 08560
• Advise patients to take XARELTO only as directed.                                  Licensed from:
• Remind patients to not discontinue XARELTO without first talking to their          Bayer HealthCare AG
  healthcare professional.                                                           51368 Leverkusen, Germany
• Advise patients with atrial fibrillation to take XARELTO once daily with
  the evening meal.
• Advise patients with DVT and/or PE to take XARELTO 15 mg or 20 mg
  tablets with food at approximately the same time every day [see Dosage
  and Administration (2.5)].                                                         © Janssen Pharmaceuticals, Inc. 2011
• Advise patients who cannot swallow the tablet whole to crush XARELTO
  and combine with a small amount of applesauce followed by food [see                059105-160829
  Dosage and Administration (2.9)].
• For patients requiring an NG tube or gastric feeding tube, instruct the
  patient or caregiver to crush the XARELTO tablet and mix it with a small
  amount of water before administering via the tube [see Dosage and
  Administration (2.9)].
• If a dose is missed, advise the patient to take XARELTO as soon as
  possible on the same day and continue on the following day with their
  recommended daily dose regimen.
Bleeding Risks
• Advise patients to report any unusual bleeding or bruising to their
  physician. Inform patients that it might take them longer than usual to
  stop bleeding, and that they may bruise and/or bleed more easily when
  they are treated with XARELTO [see Warnings and Precautions (5.2)].
• If patients have had neuraxial anesthesia or spinal puncture, and
  particularly, if they are taking concomitant NSAIDs or platelet inhibitors,
  advise patients to watch for signs and symptoms of spinal or epidural
  hematoma, such as back pain, tingling, numbness (especially in the
  lower limbs), muscle weakness, and stool or urine incontinence. If any of
  these symptoms occur, advise the patient to contact his or her physician
  immediately [see Boxed Warning].




                                                                                13
       Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 15 of 17
XARELTO® (rivaroxaban) tablets                                            XARELTO® (rivaroxaban) tablets

                     MEDICATION GUIDE                                       • bright red or black stools (looks like tar)
                 XARELTO (zah-REL-toe)
                             ®                                              • cough up blood or blood clots
                         (rivaroxaban)                                      • vomit blood or your vomit looks like “coffee grounds”
                             tablets                                        • headaches, feeling dizzy or weak
Read this Medication Guide before you start taking                          • pain, swelling, or new drainage at wound sites
XARELTO and each time you get a refill. There may be new                  • Spinal or epidural blood clots (hematoma). People who
information. This Medication Guide does not take the place                  take a blood thinner medicine (anticoagulant) like
of talking with your doctor about your medical condition or                 XARELTO, and have medicine injected into their spinal and
your treatment.                                                             epidural area, or have a spinal puncture have a risk of
What is the most important information I should know                        forming a blood clot that can cause long-term or
about XARELTO?                                                              permanent loss of the ability to move (paralysis). Your risk
                                                                            of developing a ­spinal or epidural blood clot is higher if:
• For people taking XARELTO for atrial fibrillation:
                                                                             a thin tube called an epidural catheter is placed in your
  People with atrial fibrillation (an irregular heart beat) are at
  an increased risk of forming a blood clot in the heart, which                back to give you certain medicine
                                                                             you take NSAIDs or a medicine to prevent blood from
  can travel to the brain, causing a stroke, or to other parts of
  the body. XARELTO lowers your chance of having a stroke                      clotting
  by helping to prevent clots from forming. If you stop taking               you have a history of difficult or repeated epidural or

  XARELTO, you may have increased risk of forming a clot in                    spinal punctures
  your blood.                                                                you have a history of problems with your spine or have

  Do not stop taking XARELTO without talking to the doctor                     had surgery on your spine
  who prescribes it for you. Stopping XARELTO increases                     If you take XARELTO and receive spinal anesthesia or
  your risk of having a stroke.                                             have a spinal puncture, your doctor should watch you
  If you have to stop taking XARELTO, your doctor may                       closely for symptoms of spinal or epidural blood clots. Tell
  prescribe another blood thinner medicine to prevent a                     your doctor right away if you have back pain, tingling,
  blood clot from forming.                                                  numbness, muscle weakness (especially in your legs
• XARELTO can cause bleeding which can be serious, and                      and feet), loss of control of the bowels or bladder
  rarely may lead to death. This is because XARELTO is a                    (incontinence).
  blood thinner medicine that reduces blood clotting. While               • XARELTO is not for patients with artificial heart valves.
  you take XARELTO you are likely to bruise more easily and               See “What are the possible side effects of XARELTO?” for
  it may take longer for bleeding to stop.                                more information about side effects.
  You may have a higher risk of bleeding if you take
                                                                          What is XARELTO?
  XARELTO and take other medicines that increase your risk
  of bleeding, including:                                                 • XARELTO is a prescription medicine used to:
                                                                              reduce the risk of stroke and blood clots in people who
  • aspirin or aspirin containing products
                                                                               have a medical condition called atrial fibrillation. With
  • non-steroidal anti-inflammatory drugs (NSAIDs)
                                                                               atrial fibrillation, part of the heart does not beat the way
  • warfarin sodium (Coumadin®, Jantoven®)                                     it should. This can lead to the formation of blood clots,
  • any medicine that contains heparin                                         which can travel to the brain, causing a stroke, or to
  • clopidogrel (Plavix®)                                                      other parts of the body.
  • selective serotonin reuptake inhibitors (SSRIs) or                        treat blood clots in the veins of your legs (deep vein
     serotonin norepinephrine reuptake inhibitors (SNRIs)                      thrombosis) or lungs (pulmonary embolism) and reduce
  • other medicines to prevent or treat blood clots                            the risk of them occurring again
  Tell your doctor if you take any of these medicines. Ask                    reduce the risk of forming a blood clot in the legs
  your doctor or pharmacist if you are not sure if your                        and lungs of people who have just had hip or knee
  medicine is one listed above.                                                replacement surgery
  Call your doctor or get medical help right away if you                  It is not known if XARELTO is safe and effective in children.
  develop any of these signs or symptoms of bleeding:
                                                                          Who should not take XARELTO?
  • unexpected bleeding or bleeding that lasts a long time,
                                                                          Do not take XARELTO if you:
     such as:
                                                                          • currently have certain types of abnormal bleeding. Talk to
      nose bleeds that happen often
                                                                            your doctor before taking XARELTO if you currently have
      unusual bleeding from the gums
                                                                            unusual bleeding.
      menstrual bleeding that is heavier than normal or
                                                                          • are allergic to rivaroxaban or any of the ingredients in
       vaginal bleeding                                                     XARELTO. See the end of this leaflet for a complete list of
  • bleeding that is severe or you cannot control                           ingredients in XARELTO.
  • red, pink or brown urine
                                                                     14
       Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 16 of 17
XARELTO® (rivaroxaban) tablets                                       XARELTO® (rivaroxaban) tablets

What should I tell my doctor before taking XARELTO?                  • If you take XARELTO for:
Before you take XARELTO, tell your doctor if you:                       atrial fibrillation:

• have ever had bleeding problems                                         ▪ Take XARELTO 1 time a day with your evening meal.
• have liver or kidney problems                                           ▪ If you miss a dose of XARELTO, take it as soon as you
• have any other medical condition                                          remember on the same day. Take your next dose at
• are pregnant or plan to become pregnant. It is not known                  your regularly scheduled time.
  if XARELTO will harm your unborn baby. Tell your doctor               blood clots in the veins of your legs or lungs:

  right away if you become pregnant while taking XARELTO.                 ▪ Take XARELTO once or twice a day as prescribed by
  If you take XARELTO during pregnancy tell your doctor                     your doctor.
  right away if you have any bleeding or symptoms of                      ▪ Take XARELTO with food at the same time each day.
  blood loss.
                                                                          ▪ If you miss a dose of XARELTO:
• are breastfeeding or plan to breastfeed. It is not known if
  XARELTO passes into your breast milk. You and your                        • and take XARELTO 2 times a day: Take XARELTO as
  doctor should decide if you will take XARELTO or                             soon as you remember on the same day. You may
  breastfeed.                                                                  take 2 doses at the same time to make up for the
                                                                               missed dose. Take your next dose at your regularly
Tell all of your doctors and dentists that you are taking                      scheduled time.
XARELTO. They should talk to the doctor who prescribed
                                                                            • and take XARELTO 1 time a day: Take XARELTO as
XARELTO for you before you have any surgery, medical or
                                                                               soon as you remember on the same day. Take your
dental procedure.
                                                                               next dose at your regularly scheduled time.
Tell your doctor about all the medicines you take, including
                                                                         hip or knee replacement surgery:
prescription and nonprescription medicines, vitamins, and
herbal supplements. Some of your other medicines may                      ▪ Take XARELTO 1 time a day with or without food.
affect the way XARELTO works. Certain medicines may                       ▪ If you miss a dose of XARELTO, take it as soon as you
increase your risk of bleeding. See “What is the most                       remember on the same day. Take your next dose at
important information I should know about XARELTO?”                         your regularly scheduled time.
Especially tell your doctor if you take:                             • If you have difficulty swallowing the tablet whole, talk to
• ketoconazole (Nizoral®)                                              your doctor about other ways to take XARELTO.
• itraconazole (Onmel™, Sporanox®)                                   • Your doctor will decide how long you should take
• ritonavir (Norvir®)                                                  XARELTO. Do not stop taking XARELTO without talking with
                                                                       your doctor first.
• lopinavir/ritonavir (Kaletra®)
• indinavir (Crixivan®)                                              • Your doctor may stop XARELTO for a short time before any
                                                                       surgery, medical or dental procedure. Your doctor will tell
• carbamazepine (Carbatrol®, Equetro®, Tegretol®,
                                                                       you when to start taking XARELTO again after your surgery
  Tegretol®-XR, Teril™, Epitol®)
                                                                       or procedure.
• phenytoin (Dilantin-125®, Dilantin®)
                                                                     • Do not run out of XARELTO. Refill your prescription of
• phenobarbital (Solfoton™)                                            XARELTO before you run out. When leaving the hospital
• rifampin (Rifater®, Rifamate®, Rimactane®, Rifadin®)                 following a hip or knee replacement, be sure that you will
• St. John’s wort (Hypericum perforatum)                               have XARELTO available to avoid missing any doses.
Ask your doctor if you are not sure if your medicine is one          • If you take too much XARELTO, go to the nearest hospital
listed above.                                                          emergency room or call your doctor right away.
Know the medicines you take. Keep a list of them to show             What are the possible side effects of XARELTO?
your doctor and pharmacist when you get a new medicine.              • See “What is the most important information I should
How should I take XARELTO?                                             know about XARELTO?”
• Take XARELTO exactly as prescribed by your doctor.                 Tell your doctor if you have any side effect that bothers you
• Do not change your dose or stop taking XARELTO unless              or that does not go away.
  your doctor tells you to.                                          Call your doctor for medical advice about side effects. You
• Your doctor will tell you how much XARELTO to take and             may report side effects to FDA at 1‑800-FDA-1088.
  when to take it.                                                   How should I store XARELTO?
• Your doctor may change your dose if needed.                        • Store XARELTO at room temperature between 68°F to 77°F
                                                                       (20° to 25°C).
                                                                     Keep XARELTO and all medicines out of the reach of
                                                                     children.


                                                                15
       Case 2:14-md-02592-EEF-MBN Document 5113-5 Filed 01/20/17 Page 17 of 17
XARELTO® (rivaroxaban) tablets

General information about XARELTO.
Medicines are sometimes prescribed for purposes other
than those listed in a Medication Guide. Do not use
XARELTO for a condition for which it was not prescribed. Do
not give XARELTO to other people, even if they have the
same condition. It may harm them.
This Medication Guide summarizes the most important
infor­
     mation about XARELTO. If you would like more
information, talk with your doctor. You can ask your
pharmacist or doctor for information about XARELTO that
is written for health professionals.
For more information call 1-800-526-7736 or go to
www.XARELTO-US.com.
What are the ingredients in XARELTO?
Active ingredient: rivaroxaban
Inactive ingredients: croscarmellose sodium, hypromellose,
lactose monohydrate, magnesium stearate, microcrystalline
cellulose, and sodium lauryl sulfate.
The proprietary film coating mixture for XARELTO 10 mg tablets
is Opadry® Pink and contains: ferric oxide red, hypromellose,
polyethylene glycol 3350, and titanium dioxide.
The proprietary film coating mixture for XARELTO 15 mg tablets
is Opadry® Red and contains: ferric oxide red, hypromellose,
polyethylene glycol 3350, and titanium dioxide.
The proprietary film coating mixture for XARELTO 20 mg tablets
is Opadry® II Dark Red and contains: ferric oxide red,
polyethylene glycol 3350, polyvinyl alcohol (partially hydrolyzed),
talc, and titanium dioxide.
This Medication Guide has been approved by the U.S. Food
and Drug Administration.


Finished Product Manufactured by:
Janssen Ortho, LLC
Gurabo, PR 00778
or
Bayer Pharma AG
51368 Leverkusen, Germany
Manufactured for:
Janssen Pharmaceuticals, Inc.
Titusville, NJ 08560
Licensed from:
Bayer HealthCare AG
51368 Leverkusen, Germany
Revised: May 2016



© Janssen Pharmaceuticals, Inc. 2011
Trademarks are property of their respective owners.

059105-160829




                                                                      16
